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                                                                    2023 Aug-18 PM 04:47
                                                                    U.S. DISTRICT COURT
                                                                        N.D. OF ALABAMA




       DEFENDANTS’ EXHIBIT B-3
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 4
 5           ALABAMA PERMANENT COMMITTEE ON REAPPORTIONMENT
 6                   AND REDISTRICTING PUBLIC HEARING
 7
 8                                    HELD ON
 9                         THURSDAY, JULY 13TH, 2023
10
11
12                                  LOCATION:
13                            ALABAMA STATE HOUSE
14                          11 SOUTH UNION STREET
15                        MONTGOMERY, ALABAMA 36104
16                                       AND
17                              ONLINE VIA ZOOM
18
19
20                        TRANSCRIBED REMOTELY BY:
21                             ANNA RUFFIN, CCR
22                              COURT REPORTER
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 1           COCHAIRMAN LIVINGSTON: We're going to          1 approve the meetings from the last meeting, which are
 2 get started here. If I could ask the clerk to call       2 in your packets.
 3 the role, please.                                        3           SENATOR ORR: Mr. President?
 4           THE CLERK: Senator Barfoot?                    4 Mr. Chairman?
 5           SENATOR BARFOOT: Here.                         5           COCHAIRMAN LIVINGSTON: Senator Orr.
 6           THE CLERK: Senator Bell?                       6           SENATOR ORR: I move we approve the
 7           SENATOR BELL: Here.                            7 minutes from the previous meeting.
 8           THE CLERK: Senator Chesteen?                   8           COCHAIRMAN LIVINGSTON: There's a
 9           SENATOR CHESTEEN: Here.                        9 motion from Senator Orr. Is there a second.
10           THE CLERK: Senator Figures?                   10           SENATOR SMITHERMAN: Second. Second.
11               (No response.)                            11           COCHAIRMAN LIVINGSTON: Mr. Smitherman
12           THE CLERK? Senator Livingston?                12 seconded.
13           COCHAIRMAN LIVINGSTON: Here.                  13           All in favor of approving the minutes
14           THE CLERK: Senator Orr?                       14 say Aye.
15               (No response.)                            15           (A collective Aye was heard throughout
16           THE CLERK: Senator Roberts?                   16           the room.)
17               (No response.)                            17           COCHAIRMAN LIVINGSTON: Like signed
18           THE CLERK: Senator Scofield?                  18 Aye and minutes are approved.
19               (No response.)                            19           Mr. Pringle?
20           THE CLERK: Senator Singleton?                 20           COCHAIRMAN PRINGLE: May the question
21           SENATOR SINGLETON: Here.                      21 now before the Bodies' adoption of the guidelines, do
22           THE CLERK: Senator Smitherman?                22 we have a motion? Do we have a motion for moving
23           SENATOR SMITHERMAN: Here.                     23 adoption.
24           THE CLERK: Senator Williams?                  24           REPRESENTATIVE HALL: Mr. Chair?
25           SENATOR WILLIAMS: Here.                       25           COCHAIRMAN PRINGLE: Ms. Hall, do you
                                                  Page 3                                                        Page 5
 1          THE CLERK: Representative Almond?               1 second it.
 2          REPRESENTATIVE ALMOND: Here.                    2            REPRESENTATIVE HALL: Yes. And I
 3          THE CLERK: Representative Boyd?                 3 would like to speak when you finish.
 4              (No response.)                              4            UNIDENTIFIED MALE: I second,
 5          THE CLERK: Representative Carns.                5 Mr. Chairman.
 6          REPRESENTATIVE CARNS: Here.                     6            COCHAIRMAN PRINGLE: We have a motion
 7          THE CLERK: Representative Clouse?               7 and we have a second --
 8              (No response.)                              8            UNIDENTIFIED MALE: Role call voting
 9          THE CLERK: Representative Ellis?                9 at the present time, Mr. Chairman, whenever --
10          REPRESENTATIVE ELLIS: Here.                    10            COCHAIRMAN PRINGLE: If the clerk will
11          THE CLERK: Representative England?             11 call the roll.
12              (No response.)                             12            REPRESENTATIVE HALL: Mr. Chair,
13          THE CLERK: Representative Hall?                13 that's why I was asking. We have a proposed
14          REPRESENTATIVE HALL: Here.                     14 amendment to the guideline plan, so when you plan to
15          THE CLERK: Representative Jones?               15 consider those --
16          REPRESENTATIVE JONES: Here.                    16            COCHAIRMAN PRINGLE: If Mr. England's
17          THE CLERK: Representative Lovvorn?             17 here, do you have an amendment.
18          REPRESENTATIVE LOVVORN: Here.                  18            REPRESENTATIVE HALL: Yeah, I have the
19          THE CLERK: Representative Reynolds?            19 amendment. It should be in everybody's folder.
20              (No response.)                             20            COCHAIRMAN PRINGLE: Would you like to
21          THE CLERK: I have 17 present. You              21 present the amendment, Ms. Hall.
22 have the quorum -- oh, 18 present.                      22            REPRESENTATIVE HALL: I'll be happy
23          COCHAIRMAN LIVINGSTON: 18 present.             23 too.
24 With 18 being present and the quorum being called,      24            COCHAIRMAN PRINGLE: Thank you.
25 next order of business would be the review and          25            REPRESENTATIVE HALL: The amendment

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 1 that you have is -- is -- for each one of the members     1 Constitution necessarily means complying with court
 2 that is in the folders. And these -- just for             2 decisions that interpret those provisions.
 3 clarification for those that did not have a copy of       3            The committee cannot feasibly amend
 4 that.                                                     4 the guidelines every time a court interprets these
 5            "Because the U.S. District Court in            5 provisions, and it would be unwise to start picking
 6 Milligan v. Allen has ordered the State to enact a        6 and choosing among court decisions to include some of
 7 new congressional map that remedies the violations of     7 them and guidelines and leave others out.
 8 Section 2 of the Voting Rights Act, the                   8            The proposed amendment is also subject
 9 Reapportionment Committee shall prioritize all plans      9 to different interpretations. The first paragraph
10 that follow the U.S. District Court's guidance.          10 mentions congressional districts in which members of
11 Accordingly, all proposals shall include at least two    11 the plaintiffs class identified and, Milligan have an
12 of seven congressional districts in which members of     12 equal opportunity to elect candidates of their
13 the plaintiff class identified in Milligan have an       13 choice. But even among plaintiff suing the State,
14 equal opportunity to elect candidates of choice. In      14 the meaning of an equal opportunity to elect
15 assessing compliance with the Court order, this          15 candidates of choice is in dispute.
16 committee shall consider the court's fact findings on    16            And Milligan plans apparently argued
17 communities of interest, racially polarized voting,      17 this means districts with over 50% black voting age
18 and other factors that inform its conclusion that the    18 population, but the single complainers have advocated
19 congressional current map with a single                  19 remedial districts would be the APs and low to mid
20 majority-black district illegally dilutes black          20 40s, which incidentally, the Milligan plan is
21 voting strength.                                         21 repeatedly endorsed until just recently.
22            The committee shall also obtain an            22            We should not include the guidelines
23 written report by an independent expert (a generally     23 language that is at best unclear and at worst
24 recognized authority on the Voting Rights Act) that      24 incorporates an unproven argument of one set of
25 analyzes any plan submitted to a committee vote.         25 plaintiffs. The proposed amendment would require the
                                                   Page 7                                                      Page 9
 1 Such report should specifically deliver an opinion        1 committee to consider the courts fact finding of
 2 and supporting analysis as to whether and how the         2 communities of interest. Whatever the trial court
 3 proposed plan satisfies the U.S. District Court's         3 found about the Gulf Coast, being a community of
 4 directives in Milligan. All reports should become         4 interest, was a preliminary finding based on limited
 5 part of the record for legislative consideration and      5 record compiled in an expedited hearing. It's not a
 6 shared with the public."                                  6 final judicial determination and does not preempt the
 7           This is the amendment I move that we            7 committee's ability and responsibility under the
 8 adopt at this time.                                       8 guidelines to identify and respect communities of
 9           COCHAIRMAN PRINGLE: Ladies and                  9 interest, including the Gulf Coast and the black belt
10 gentlemen of the committee, the proposed amendment       10 when it trolls to those remedial districts.
11 would embedded -- embedded in the guidelines             11            One purpose of the hearing, the
12 arguments by counsel for the Milligan and Caster         12 committee is considering is to receive public comment
13 plans about the US Supreme Court's recent decision in    13 and communities of interest, and we should be open to
14 Allen versus Milligan. And for that reason alone, it     14 that evidence and not instead default to the
15 should be rejected. Guidelines are no place for a        15 arguments of the Milligan, plaintiff's lawyers. The
16 party's legal arguments.                                 16 second paragraph that the proposed amendment would
17           Moreover, the proposed amendment is            17 require the committee to receive and review a report
18 unnecessary and is not good practice. The first          18 by an independent expert upon whether the proposed
19 paragraph was a proposed amendment that will require     19 plan complies with the trial court's directives and
20 the committee to comply with Section Two the Voting      20 Milligan, which directives this language refers to is
21 Rights Act. The guidelines already require the           21 unclear or whatever directives are intended or
22 committee to comply with the Voting Rights Act, as       22 preliminary finding the conclusion of love, made in a
23 well as the US Constitution, which the proposed          23 hurry record.
24 amendment does not mention, to comply under Section      24            They do not reflect what the court
25 Two of the Voting Rights Act and what the US             25 will say after it has had the opportunity to review a

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 1 complete record. Moreover, no such report has been         1 this: As I heard the response, I kind of heard
 2 submitted by Milligan and Caster plaintiffs and            2 something like this and I'll stand corrected. But it
 3 supported their VRA plaintiffs' remedial plan that         3 said that -- when we were talking -- you were talking
 4 was presented and discussed in the last hearing.           4 about the taking the directions that -- that this
 5           That said, I anticipate that when the            5 amendment was trying to take us. It was something to
 6 House of Senate leadership submits a plan for the          6 the effect that this would be carrying furthering the
 7 Committee's review will be supported by one more --        7 ruling of the Court, it was something of that nature.
 8 one of more functionality reports. In short, the           8 I want to set the record straight. This is a
 9 proposed amendment is not needed and would                 9 two-part situation. This is not a continuation from
10 incorporate into our guidelines, the arguments of the     10 the first ruling on the merits that the Court did on
11 Milligan plaintiffs lawyers, and for these reasons,       11 the initial complaint.
12 the motion to amend the guidelines should be denied.      12            There is two phases to this. The
13           REPRESENTATIVE FIGURES: Mr. Chairman?           13 first phase is them ruling what they're ruling. This
14           COCHAIRMAN PRINGLE: Yes.                        14 phase -- and if you look in the orders, when he
15           SENATOR FIGURES: In light of the fact           15 talked to orders at the -- when he talked about that
16 that Representative Hall's, amendment did not get a       16 they were going to use strict scrutiny in the
17 second, let it go on the record showing --                17 principles of coming up with the remedy. The end of
18           UNIDENTIFIED MALE: I will --                    18 phase two is that the remedy now has to meet what the
19           SENATOR FIGURES: You would --                   19 Court says and has to meet the procedural --
20           UNIDENTIFIED MALE: No, I will.                  20 substantive procedures that is -- that is used by
21           SENATOR FIGURES: No. I was just                 21 those have to meet those standards that they have.
22 going to let the record show that I second it.            22 So it would make to me only common sense to take that
23           COCHAIRMAN PRINGLE: Thank you,                  23 part right there because the Court has said, that's
24 Senator Figures.                                          24 the flaw. And we got to go from here to try to
25           SENATOR FIGURES: Also, Mr. Chairman,            25 correct this and would you present us back if there's
                                                   Page 11                                                    Page 13
 1 can we get a copy of the statement you just read? 1 going to be acceptable? So I want to make that very
 2            COCHAIRMAN PRINGLE: It's in the            2 clear to everybody in here that this is not one
 3 record, and I'll be glad to share it with you.        3 carryover from the ruling. There's two parts to it.
 4            SENATOR FIGURES: Thank you.                4 Now we in the remedy phase, and the remedy phase is
 5            COCHAIRMAN PRINGLE: Senator                5 totally independent, as it relates to the ruling that
 6 Smitherman.                                           6 we have to come up with another remedy. Thank you,
 7            SENATOR SMITHERMAN: To listen to 7 Mr. Chairman.
 8 report that the co-chair gave, I think that I feel    8           SENATOR ORR: Mr. Chairman?
 9 duly noted, based on my opinion and my own            9           COCHAIRMAN PRINGLE: Mr. Orr.
10 interpretation to make a few corrections. One is 10               SENATOR ORR: In light of Chairman
11 that in this -- in this proposed amendment, if you 11 Pringle's comments, I would move to table the
12 look at this from the middle part on down, it says, 12 amendment.
13 "In asserting compliance with the Court's order.     13           COCHAIRMAN PRINGLE: There's a motion
14 This committee shall consider the Court's fact       14 to table. Is there a second.
15 findings on community interest, racially polarized 15             SENATOR SMITHERMAN: Second.
16 voting, and other factors that inform its conclusion 16           COCHAIRMAN PRINGLE: Second by Senator
17 that the congressional current map with a single     17 --
18 majority black district, it legally dilutes black    18                (Cross-talk.)
19 voting strength."                                    19           COCHAIRMAN PRINGLE: Roll-call vote.
20            I think that's, I think that's why        20           THE CLERK: Senator Barfoot.
21 we're here in the first place. I think that's how we 21           SENATOR BARFOOT: Aye.
22 got here by the courts, saying this is what -- the   22           THE CLERK: Senator Bell?
23 map wasn't right. So I think that it makes only      23           SENATOR BELL: Aye.
24 common sense to follow directives from the Court. 24              THE CLERK: Senator Chesteen?
25            The second thing I want to say is         25           SENATOR CHESTEEN: Aye.

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 1           THE CLERK: Senator Figures?                       1 recognize you. This is for people here to talk about
 2           SENATOR FIGURES: No.                              2 general communities of interest. Then we're going to
 3           THE CLERK? Senator Livingston?                    3 have you -- if you want to talk about a specific
 4             (No response.)                                  4 plan, there's a sign up sheet for each specific plan,
 5           THE CLERK: Senator Orr?                           5 and we'll be glad to call you up and let you talk
 6           SENATOR ORR: Aye.                                 6 about each plan.
 7           THE CLERK: Senator Roberts?                       7            And you can sign up for multiple --
 8             (No response.)                                  8 multiple plans. It doesn't bother me. But we just
 9           THE CLERK: Senator Scofield?                      9 want to make sure when we call you, you're going to
10             (No response.)                                 10 talk about the plan that we have before us.
11           THE CLERK: Senator Singleton?                    11            SENATOR FIGURES: Mr. Chair?
12           SENATOR SINGLETON: No. No, no, no.               12            COCHAIRMAN PRINGLE: Yes, Senator
13           THE CLERK: Senator Smitherman?                   13 Figures?
14           SENATOR SMITHERMAN: Aye.                         14            SENATOR FIGURES: I understand that
15           THE CLERK: Senator Williams?                     15 plans -- were the -- the deadline for plan
16           SENATOR WILLIAMS: Aye.                           16 submittal was July 7, how many plans have been
17           THE CLERK: Representative Almond?                17 submitted? And how will we know which plan --
18             (No response.)                                 18            COCHAIRMAN PRINGLE: We're actively
19           THE CLERK: Representative Boyd?                  19 processing plans as fast as possible, but there was
20             (No response.)                                 20 an overwhelming number sent into the committee. From
21           THE CLERK: Representative Carns.                 21 all over, from France, from New Zealand and all over
22           REPRESENTATIVE CARNS: Aye.                       22 out of state. Right now, we're trying to consolidate
23           THE CLERK: Representative Clouse?                23 and get our plans from Alabama residents to you as
24             (No response.)                                 24 fast as possible. We're just -- to be frank, we're
25           THE CLERK: Representative Ellis?                 25 just overwhelmed. We are working as diligently as
                                                    Page 15                                                        Page 17
 1            REPRESENTATIVE ELLIS: Aye.                       1 possible to do --
 2            THE CLERK: Representative England?               2            SENATOR FIGURES: How do we have a
 3                (No response.)                               3 public hearing on the plans that were submitted, if
 4            THE CLERK: Representative Hall?                  4 we don't have the plans before us?
 5                (No response.)                               5            COCHAIRMAN PRINGLE: I got some plans
 6            THE CLERK: Representative Jones?                 6 that have been submitted that are run through our
 7            REPRESENTATIVE JONES: No.                        7 computers. And we can put numbers on the screen for
 8            THE CLERK: Representative Lovvorn?               8 you. We just haven't got to all of them. I'm doing
 9            REPRESENTATIVE LOVVORN: Aye.                     9 the best I can, Senator in a very, very, very
10            THE CLERK: Representative Reynolds?             10 time-compressed --
11                (No response.)                              11            SENATOR FIGURES: I'm not complaining.
12            THE CLERK: I have Aye as 13 and No to           12 I'm just saying it makes sense if we're having a
13 6.                                                         13 public hearing about plans submitted, we need the
14            COCHAIRMAN LIVINGSTON: The guidelines           14 plans.
15 have been adopted in a 13-6 vote. Chairman Pringle?        15            COCHAIRMAN PRINGLE: Yeah. We've got
16            COCHAIRMAN PRINGLE: Ladies and                  16 numerous plans we're gonna put up before --
17 gentlemen, we're going to now move to a discussion of      17 Will -- will they be bringing us copies of the plan
18 a couple of things. We're gonna talk about some of         18 -- we'll turn everything over to you as fast as we
19 the plans that are pending before the committee. But       19 can get it.
20 I'd like to get started. If you would like to speak,       20            One of the problems is, some of the
21 in general terms, about different issues, communities      21 plans are not compatible with Maptitude. So we have
22 of interest or historical sights, not specifically on      22 to get the plans we have to get them in loaded in our
23 a plan, there's a signup sheet. There's a sign up          23 computer into Maptitude. And then process them so we
24 sheet right over here.                                     24 can run them.
25            If you'll come sign up, we'll                   25            SENATOR SMITHERMAN: Mr. Chairman?

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 1            COCHAIRMAN PRINGLE: Mr. Smitherman?               1 that. But my statement is to give more to the fact
 2            MR. SMITHERMAN: Mr. Chairman, I don't             2 we have already functionality reports.
 3 mind yielding -- outspoken -- I like to be recognized        3            I'm not -- I'm not putting them out
 4 after that.                                                  4 map -- the map that we're talking about that we're
 5            SENATOR ENGLAND: Yes, Mr. Chairman,               5 gonna try to put together as a group. I'm saying on
 6 as a member of this permanent legislative committee,         6 all these other maps, not all of them, but we have
 7 and as part of the minority of this committee, we            7 many of these other maps, we have functionality
 8 have not been privy to any maps drawn by this                8 reports. And I mean, I'm not saying that's anybody's
 9 committee itself. And we're talking about going into         9 keeping me from it. But anything that's spread in
10 session on next week. I wrote a letter titled to            10 that office, in this committee, to be a member you
11 Chairman Livingston, yourself, and Attorney Dorman          11 should have -- all of us should have access to. So I
12 Walker, asking for any maps or other functionality          12 think it's very important and critical, that whatever
13 reports that can that this committee already has            13 we do have now, if that that'd be presented an
14 drawn, and we have not received anything.                   14 opportunity for every member on this committee to be
15            Could you please respond to that in              15 able to get it. So as we go through this meeting,
16 terms of maps, that this committee and where we are,        16 and as we get ready to go through the next --
17 and while we as the minority has not been a part of         17 whatever next step it is, we will have a chance to
18 that process?                                               18 review some of that information and be able to
19            SENATOR FIGURES: That's drawn by the             19 discuss it as we go through this process here.
20 majority -- not by this committee that you're               20            That's why I had asked about the
21 referring to.                                               21 meeting a little bit before the meeting up until
22            COCHAIRMAN PRINGLE: And, Senator, as             22 today. So if it can be produced, I still would like
23 I told you, we just adopted guidelines a few minutes        23 to get it. And I don't mind looking at it as we go
24 ago. I don't know how I can present plans to a              24 through this process. But I need whatever we have.
25 committee when I haven't guidelines to guide me             25 Thank you.
                                                     Page 19                                                        Page 21
 1 drawn.                                                       1            COCHAIRMAN PRINGLE: And I understand
 2           REPRESENTATIVE ENGLAND: Why don't we               2 we are processing the maps. We've processed the
 3 sit down together and draw our map?                          3 remedial maps we have been reviewing and running the
 4           COCHAIRMAN PRINGLE: We are working on              4 analysis on it. As fast as we can possibly do it.
 5 that as fast as we can. I've got nothing to hide,            5 We've processed the DRA plans for remedial map, which
 6 Senator, and I'm ready to get started on that plan.          6 we'll have today. We've processed the CLC Map 1. We
 7           REPRESENTATIVE ENGLAND: Will I be                  7 processed a Singleton Congressional Map Plan 3, and
 8 involved with that plan?                                     8 we processed the Hatcher Remedial Congressional Plan
 9           COCHAIRMAN PRINGLE: Yes.                           9 1.
10                (Cross-talk.)                                10            We had been reviewing the maps,
11           COCHAIRMAN PRINGLE: I understand and              11 putting them into computer and running the analysis
12 we're working as diligently as possible. We have --         12 on them, as fast as we can possibly do. We just got
13 committee staff has been completely overwhelmed. We         13 completely overwhelmed with the number of maps sent
14 are working as diligently as possible to produce all        14 in. And so we picked y'all's maps first, and we ran
15 of the information.                                         15 those in length. We picked Senator Singleton's maps
16           REPRESENTATIVE ENGLAND: I'm not a                 16 and the plaintiffs' maps. We've picked the maps that
17 part of that "we" though.                                   17 come in from Senator Singleton. That -- that -- the
18           COCHAIRMAN PRINGLE: Yes, Senator                  18 Singleton Congressional Plan Number three is -- does
19 Smitherman?                                                 19 not -- is that your map?
20           MR. SMITHERMAN: Mr. Chairman, I --                20            SENATOR SMITHERMAN: No, I'm the
21 you know I wrote a letter requesting the same               21 sponsor of that one.
22 information, and I like that to be, you know, kind of       22            COCHAIRMAN PRINGLE: Oh, you're the
23 spread over out minutes. It's a letter. At some             23 sponsor for the Singleton Map? I'm sorry, Senator
24 point in time, I'm going to hand it back to -- it's         24 Smitherman.
25 evident that I actually sent in a letter requesting         25            But anyway, again, we are -- we are

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 1 processing it as fast as possible. And we're going         1           Thank you.
 2 to get you the information as soon as we can. We           2           And with that, I like to recognize
 3 just have a horribly compressed timeframe, yet again       3 Frank Schmitz, former mayor Dothan, currently serving
 4 in this committee. I wish we could go back to the          4 as civilian aid to Secretary of the Army.
 5 days when we had a year to do this, but we've never        5           When you get to the microphone, please
 6 been given that length of time to -- to draw these         6 speak into the microphone and state your name and
 7 maps has always been very late.                            7 where you're from there because there are people
 8           SENATOR FIGURES: We didn't have an               8 listening to us. It was very difficult last time to
 9 opportunity for a long time before.                        9 people that are listening to. The clerk is in the
10           SENATOR PRINGLE: Yes, Representative            10 back room to hear you, so speak into your microphone.
11 England?                                                  11 And, Members, if you'll turn your mics off, I
12           REPRESENTATIVE ENGLAND: Thank you for           12 understand we had a problem with back feed last time.
13 the recognition. There's something interesting that       13 Thank you so much.
14 you said it kind of struck me, and please forgive me      14           MR. SCHMITZ: Thank you so much.
15 him, no disrespect about this at all. But I wasn't        15 Well, good afternoon. First of all, thank you for
16 aware that this was like a y'all process. And I           16 this opportunity. My name is Mike Schmitz. I'm from
17 thought that we had a court order where we were           17 the great City of Dothan, Alabama. I'm in the
18 trying to build a map that we were all supposed to be     18 automobile business there for 35 years. I sell
19 working on to a certain degree.                           19 Hyundai's and Mercedes made in Alabama, by Alabama
20           And also since we have a public                 20 folks. So I'm proud of that. I also had the honor
21 hearing today, it's not since just a y'all situation      21 of being mayor of the city and the privilege of being
22 for us to present maps but everybody to present maps      22 mayor from 2009 to October 2017 in Dothan, and then I
23 so we can actually get a better idea of what, you         23 stepped down from there after two terms into our
24 know, I guess for lack of a better term "public           24 public school system became chairman of the board,
25 communities of interest" are -- or what other             25 COVID hit. So it was an exciting, interesting four
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 1 perception you have of the court order so we can       1 years. I learned a lot. And then after I stepped
 2 actually look at opposing maps and have a public       2 out of that, I got appointed by the Secretary of the
 3 hearing where everybody's here as input on not only,   3 Army. It's a volunteer position. I represent
 4 I guess, y'all's maps, but everybody else's maps too.  4 Alabama South. I represent Fort Novosel Army
 5            So it kind of puts us as members of         5 Reserve, and anything to do with the military JROTC,
 6 the committee and the public at a disadvantage         6 Army National Guard and report directly to the
 7 because they will not have an opportunity to provide   7 Pentagon and to the Secretary of the Army.
 8 any public input on maps that y'all present. So        8           I'm here as a concerned -- not a
 9 again -- I echo the sentiments of Senator Singleton    9 concerned -- I am a concerned citizen, involved
10 and Senator Figures when, I mean, I would prefer that 10 citizen. As someone who's been involved with
11 this is a process where we're all kind of building a  11 economic development with partnerships with southeast
12 resolution to satisfy a court order that we all got   12 Alabama, I'm very protective of us. Because we stand
13 to look at everybody's proposal when we're not just   13 alone, most of us are small communities. And as we
14 seeing it on Monday when we -- when we arrive at the 14 stand alone, we can't succeed. So we have created
15 State House for a special session and then be         15 partnerships that have lasted 50 and 100 years that
16 expected to vote on it within five days.              16 have helped all our communities grow, and my purpose
17            So I'll yield but that's just --           17 today is simply ask you, I don't have a map. I don't
18 that's just interesting to me.                        18 know what maps you have. But I would love to see
19            SENATOR SMITHERMAN: Mr. Chairman, I 19 those in Houston County stay in line with Montgomery
20 would like to present this to the community.          20 and all the communities that were involved going out
21            COCHAIRMAN PRINGLE: Senator                21 to southeast edge of Alabama.
22 Smitherman has presented it to me, and if you don't   22           We have many partnerships. One is
23 mind, I like to change your memorandum to read        23 southeast Alabama gas, we're 14 municipalities from
24 Cochairman Livingston and Cochairman Pringle. I'm 24 Dothan up to Greenville -- southeast Alabama gas and
25 not Vice Chairman.                                    25 that creates profits or benefits for -- for each

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 1 community and helps them grow. The 14 mayors sit            1 different counties that we're all focused on making
 2 down every month, and we work together and see how we       2 sure that everyone has access to excellent health
 3 can help each other because we don't have anyone            3 care in our community, and I don't think that we
 4 else. And so we work together. We have prospered.           4 should shy away from being very proud of that.
 5 We are booming, and I hate to see that change. We           5            Certainly, he mentioned the medical
 6 other -- we also have an education Troy, Troy               6 school. My hospital alone is about to stand up
 7 University and Troy Dothan, the medical school we           7 internal medical permanency program. I can just say
 8 have in Dothan in economic development. We, as City         8 this from a personal perspective, not just from
 9 of Dothan, go out -- not out of our way, but we try         9 personal -- from a professional perspective, but I'm
10 to partner with all these smaller communities and          10 six generations living in this particular district.
11 help them create jobs because we know floats all           11 My children have been educated in this district and
12 boats, right?                                              12 continue to live and work in this area.
13           We know it helps Geneva, helps us what           13            I'm very blessed to see my seven
14 helps Enterprise helps us or Greenville, so we worked      14 grandchildren and my two great-grandchildren on a
15 really, really hard together to do that. We also           15 regular basis. I'm very proud of all the things that
16 have -- the biggest purpose I have today for this is       16 they've accomplished, as well as continuing to see
17 we -- the world is changing and with Fort Novosel --       17 people in our community to grow and thrive. I think
18           COCHAIRMAN PRINGLE: One minute.                  18 again -- that's our main reason for being here today,
19           MR. SCHMITZ: Okay. Fort Novosel and,             19 again, is to talk about what's good, what's right,
20 and Maxwell Air Force Base. We got to be careful.          20 what's worked, and we want to continue to support
21 We got to protect the values. We got to stay               21 that. We certainly be open to hear from others as
22 together to make sure they are benefited. And they         22 well, but I think that's what makes our community
23 continue to grow to protect our country. And we have       23 strong is the fact that I mentioned those three C's:
24 incredible amount of partnership to help protect           24 Communication, collaboration, and cooperation. Want
25 that. We cannot lose this. We also -- if you move          25 to continue see that happen.
                                                    Page 27                                                     Page 29
 1 us West, I believe Houston and Dothan County will    1           Thank you very much for allowing me to
 2 lose our voice and lose our vote. Thank you very     2 speak and appreciate all the hard work that everyone
 3 much. God bless you.                                 3 sitting up there does each and everyday. Very
 4            COCHAIRMAN PRINGLE: Thank you so          4 appreciative of all of your service. Thank you.
 5 much.                                                5           COCHAIRMAN PRINGLE: Thank you so
 6            The Chair now recognized Jeff Brandon,    6 much.
 7 CEO of Flowers Hospital in Dothan.                   7           And let me -- for people that are
 8            MR. BRANDON: Thank you, Mr. Chairman. 8 watching us on live stream, if you would like to
 9 My name is Jeff Brandon. I -- thank you -- I'll be   9 comment, send your emails to district@alsenate.gov,
10 happy to do that. I am the CEO of Flowers Hospital. 10 district@alsenate.gov. We'll be glad to take your
11 I have lived in this district all my life. I'll be  11 comments, and we'll be glad to take your comments and
12 65 years old in September of this year. My dad is   12 we'll read them from the podium.
13 93. He served in the Military, Alabama National     13           From that now, the Chair recognizes
14 Guard, Civil Service, and we are very -- as Mayor   14 Ronald Jackson from Birmingham, for three minutes.
15 Schmitz just said. I'm here today as a concerned    15           MR. JACKSON: Good morning,
16 citizen as someone that realizes the benefit of     16 Legislatures and my fellow citizens of Alabama. I'm
17 collaboration, cooperation communication, all of    17 Ronald Jackson. I'm a formal member of the Alabama
18 those things that he just referenced that are       18 legislature. I'm hear to speak today on behalf of
19 critically important for us not to forget.          19 citizens of better schools and sustainable
20            I believe that our economy is strong     20 communities, and legal evaluations, and action
21 today because of the things that Mayor Schmitz just 21 project. We are here to support the Blacksher the
22 mention. I can tell you that our health care        22 plan -- everything is going be on the Internet. But
23 community is stronger than it's ever been in our    23 we're here to tell you that -- I'm from Birmingham,
24 district. We have a Southeast Alabama Hospital      24 Jefferson County, Alabama.
25 Council that met yesterday that goes over five      25           But these plans, these proposals that

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 1 have been put out, that I have seen thus far. They           1 Democrats. I demand representation. I have a reason
 2 are unfair, inequitable, noncompliant with the recent        2 for it. I'm going to present it to you. It involves
 3 decision by the United States Supreme Court and --           3 technology, advanced aerospace applications for land,
 4 for Jefferson County, which if you all will go back          4 air, sea, and space. And this will contribute to
 5 to that original Singleton decision that created this        5 national security in both economic and military
 6 one person, one vote.                                        6 applications.
 7            And I want everybody to understand                7            It's been overlooked. I went to my
 8 this, what this legislature must do when they adopt          8 representatives, starting with Riley back in '99
 9 what they're going to adopt. That -- that                    9 before he began governor. I talked to multiple
10 preservation of one person, one vote, must be active,       10 representative and attempted to talk to others, such
11 that's the euphemism they use about continuity,             11 as Mike Rogers -- as recently as 2018 before the last
12 making sure your vote count.                                12 state election Whatley, Joe Lovvorn. I don't know if
13            We want to say to you today, and let             13 that's the same person. I have never spoken to him
14 you be placed on public notice, that citizens with          14 in person. But I made multiple phone calls and
15 better schools and sustainable communities, with            15 Whatley was the only that I caught actually in
16 legal evaluation and action project, we have counsel.       16 session with aid, quote on quote.
17 And we are prepared that we will respond to a special       17            Now, I moved down to Alabama 25 years
18 master, and if you don't keep Jefferson County              18 ago. I gave up an inheritant house that was given to
19 together and not split it off anywhere to pull up           19 me from my grandparents raised me as a child --
20 some votes that you think you need to have, just            20            COCHAIRMAN PRINGLE: One minute.
21 think about what Attorney Blacksher has written to          21            MR. BOWHALL: -- all right? I gave
22 you.                                                        22 that up to come down to bring -- to try to establish
23            In conclusion, Jefferson County is the           23 jobs and bring technology to this state when you
24 economic engine of this State. Those of you that            24 needed it. I've been ignored ever since. My life's
25 talk about the automobile industry, no, you really          25 been turned upside down. I've been forced into low
                                                     Page 31                                                      Page 33
 1 got it. Mayor Richard Arrington, Governor Polson,            1 income, 9, $10-hour-job, which I used to do some
 2 when out of Birmingham we gave you the money to get          2 research for my needs of this technology, industry
 3 the Mercedes plan, and you think we going to let you         3 never got establish. This state needs to bring a
 4 split us up? You got another funk coming.                    4 crap-load of money into this state to establish this
 5           All I wanted say to you is this, we                5 technology because it's not individual applications
 6 stand on this cardinal principle, autonomous --              6 that we're speaking of the way you would establish an
 7 defendere. If you don't know what that means, I'll           7 auto industry or an aircraft industry.
 8 tell you in Alabama language: We dare defend our             8            This is cross-over technology. I need
 9 rights, and I leave you with one other Latin                 9 to get all phases established, so it makes it more
10 expression: "Illegitimus non carborundum" because           10 economically to manufacture, and the fact -- the
11 what I see on these plans is that. Now, you look it         11 technology I'm about to show you, just a child --
12 up. I'm not going to say what it means, because it's        12            COCHAIRMAN PRINGLE: Your time is
13 a language I would not say, with children listening.        13 expired, sir.
14 Support the Blacksher Plan. Thank you.                      14            MR. BOWHALL: Well, let me do this
15           COCHAIRMAN PRINGLE: Thank you,                    15 because this is why I came here, and the public needs
16 Mr. Jackson.                                                16 to know about it because the mapping does not cover
17           The Chair now recognizes William Bowan            17 the contingency of third party independent
18 from Opelika. Did I say that correctly?                     18 representation and that's an absolute must to see
19           MR. BOWHALL: The name is William                  19 that this technology is protected, that the labor
20 Bowhall of Opelika, Alabama. I'm here to talk to            20 force gets established, the future needs of
21 this member body and the public about some overlooked       21 infrastructure get established to support its gross.
22 issues that this State needs to take care of.               22            This hasn't been done in this state,
23 Because I've been a citizen of this state and               23 and you put millions of dollars in road work,
24 resident for 25 years. And my needs have not yet            24 refurbishing in Birmingham. Now y'all see me take
25 been observed or tended to by the Republicans or            25 this that can be manufactured over and over again.

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 1 This is just a basic application of an air foil --         1 no state that can get their act together. Everything
 2            COCHAIRMAN PRINGLE: You need to speak           2 starts here in Alabama. When we become like the
 3 into the microphone.                                       3 University of Alabama football team, then we will
 4            MR. BOWHALL: You got in manufacture             4 begin to look upon a different perspective. When
 5 now. It has nothing you have in manufacture now that       5 Nick Saban puts his players out there, he puts his
 6 can provide a safer needs for transportation for           6 players out to win. He doesn't put his players on
 7 land, air, sea, and space. And I can't go into             7 the field, saying that this player is a Republican,
 8 additional components that would be added to it, but       8 this player is a Democrat, this player is black, this
 9 it supports it's own -- own means of flight. And           9 player is white. He puts players on the field to win
10 with attachable and re-attachable units, compartment      10 and that's what we should start off at the beginning.
11 to be saved --                                            11 You started off in the wrong area by not selecting a
12            SENATOR FIGURES: Mr. Chair?                    12 vice chair.
13            COCHAIRMAN PRINGLE: Sir, your time's           13            I'm hoping that when the legislature
14 expired, sir. We're here to talk about congressional      14 go in session on the 17th, that we can formulate a
15 redistricting, not technology. So your time is            15 football team. We formulate a football that we going
16 expired, sir. I'm sorry. I gave you three minutes         16 to win for the State of Alabama. This is two-black
17 to talk about congressional redistricting, and I          17 districts. Now, Blacksher's maps, which I was kind
18 yielded extra time to you. You're here talking about      18 of concerned about, but it's not about me, it's
19 technology.                                               19 what's best for the State of Alabama. I think this
20            MR. BOWHALL: But the redistricting             20 is what we need to start doing looking for the State
21 refers to the black community.                            21 of Alabama. Thank you.
22            COCHAIRMAN PRINGLE: Well, we're here           22            COCHAIRMAN PRINGLE: Thank you. The
23 to talk about, sir --                                     23 Chair now recognizes former member Mike Holmes from
24            MR. BOWHALL: You can't --                      24 Wetumpka, Alabama. Welcome back, Mike.
25            COCHAIRMAN PRINGLE: Sir, I'm going to          25            MR. HOLMES: Thank you, sir. Well, I
                                                   Page 35                                                        Page 37
 1 ask you to sit down, and if you don't sit down, that   1 see in the last couple of speakers, we've veered off
 2 gentleman will remove you.                             2 the topic quite a bit. I'm going to try to get back
 3           Now, the next one is David -- is it          3 toward the topic at hand, which is redistricting.
 4 L-U-S-S-E-U from Birmingham? I can't read the          4 I've come up with a former -- I don't know if I call
 5 handwriting. David Lusseu or -- okay. I'm sorry. I     5 it constituent anymore, but a former constituent of
 6 can't read your handwriting. Thank you. Come           6 mine, when I was serving up until November of 2022 in
 7 forward. I'm going to hold you to three minutes.       7 the House of Representatives. My name is Mike
 8           MR. LUSSEU: It won't take three              8 Holmes, served there for about nine years, enjoyed
 9 minutes. I'm David Lusseu. I was here last week,       9 every minute of it. I see a lot of old friends from
10 and my mind still hasn't wrapped around the           10 college. It's good to see you again.
11 chairperson and vice chair. You know, when I left     11            I want to zero in on something that --
12 out of here last week, they told me there were two    12 let me get my glasses, so don't miss anything. This
13 professors up there on the -- one of them is not he   13 constituent brought me a brief from the University of
14 today, but one of them had a PHD from the University 14 Alabama policy -- policy center. The title of the
15 of Alabama, and we had two attorneys and one of them 15 study is "Defining Alabama's Black Belt Region."
16 attorneys was from the prestige University of         16            "For the purposes of this issue brief
17 Montevallo, and then we got a former mayor over       17 series, the University of Alabama’s Education.
18 there, was the major of the third largest city.       18 Policy Center used an expansive definition of the
19           Now, out of all of that qualification,      19 Black Belt encompassing 24 counties. But we note
20 and we could not any much find to get vice chair from 20 that Crenshaw, Montgomery, Pike and Russell counties
21 that group. You know, it seem kind of obvious that,   21 have had modest growth, which means that the
22 you know, this is a two-black district and with all   22 population loss, K12 enrollment decline, lower
23 of that qualification, and we could not pull out a    23 employment, and labor force participation rates, and
24 vice chair out of that community. It was kind of      24 other issues identified are likely more severe in the
25 hard -- until Alabama get they act together, there's  25 remaining Black Belt counties — especially those west

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 1 of Montgomery. Readers should keep this in mind as    1 your name on there, and pass it to me.
 2 they review the data presented below. All of this     2           I'll have it entered into the
 3 speaks to the need for a uniform, agreed-upon         3 permanent record --
 4 definition of the Black Belt, an issue discussed in   4           MR. HOLMES: Did you get a copy?
 5 detail in this brief."                                5           COCHAIRMAN PRINGLE: I got a copy. I
 6            The whole point, as I stated in the        6 would like to have --
 7 beginning, you cannot measure what you cannot define. 7           MR. HOLMES: Can I sign yours? I
 8 You cannot measure what you cannot define.            8 think that's the last one I had. Here's one.
 9            "Every Alabamian knows the Black Belt.     9           COCHAIRMAN PRINGLE: I just need one
10 They know it from their history books as the area in 10 with your signature -- yeah, if you don't mind,
11 south central Alabama where the cotton was and is    11 please, sir. Thank you. I'll put it into the
12 still grown. The Black Belt is where slaves tended   12 permanent record.
13 the fields, and where sharecropping replaced         13           The Chair now recognized Kathy Jones
14 plantations after Reconstruction. Everyone knows the 14 from Huntsville.
15 Black Belt from iconic novels such as Harper Lee’s,  15           MS. JONES: All right. Good
16 'To Kill a Mockingbird.'"                            16 afternoon. My name is Kathy Jones, and I am from
17            "For far too long, the Black              17 Huntsville, Alabama. I'm the president of the League
18 Belt has been known for exporting its most talented  18 of Women Voters of Alabama. Start off by saying,
19 young people. But the Black Belt has been poorly     19 this past year the League of Alabama joined with
20 defined. There are different definitions of which    20 several other organizations who filed amicus brief in
21 counties constitute it for federal, state, and       21 support of the Milligan plaintiffs.
22 local/regional programs. These include the federal   22           And I'm here today to express our
23 Delta Regional Authority, the State of Alabama’s     23 continued support for the plaintiffs and their
24 Black Belt Action Commission, the University of      24 request to create two black-majority districts where
25 Alabama-led Institute for Rural Health Research, and 25 voting age adults have a real opportunity to elect
                                                  Page 39                                                    Page 41
 1 the University of West Alabama’s Alabama Black Belt       1 the candidates of their choice. Yesterday, I was
 2 Heritage Area. Inconsistent definitions make it           2 reading through the Supreme Court opinion, and I
 3 difficult to develop and sustain political coalitions     3 found several quotes that I thought it would really
 4 over time to positively impact policies and               4 benefit everyone here, as well as the folks watching
 5 programs."                                                5 online, if I mentioned them because they were frankly
 6            "The final step in any comprehensive,          6 shocking.
 7 research-based approach to help lift up Alabama's         7            I felt like it's so important for us
 8 Black Belt region is to develop a consistent              8 to realize what the Supreme Court said about what the
 9 definition. This is a necessary precursor to              9 Alabama map represented. First of all, the Supreme
10 creating actionable programming for the long-term,       10 Court held that the District Court's determination
11 and to synchronize state and federal policy. In a        11 that the Plaintiffs demonstrated a reasonable
12 press statement that accompanied his signing of the      12 likelihood of success on their claim that HP1
13 2004 Executive Order creating the Black Belt Action      13 violates the Section 2 of the Voting Rights Act.
14 Commission, Governor Bob Riley declared:                 14            As a matter of fact, they quoted the
15            'This is not another effort to study          15 fact that the District Court said that the Section 2
16 the Black Belt. I'm not appointing the commission so     16 violation was "not even close." The District Court
17 we can have another report on conditions                 17 also, and this is a direct quote, "The District Court
18 In the Black Belt. The Black Belt has been studied       18 concluded that Plaintiffs had carried their burden of
19 and studied. The problems there have already been        19 proof given the racial polarization of elections in
20 identified.'"                                            20 Alabama, where 'Black Alabamians enjoy virtually zero
21            COCHAIRMAN PRINGLE: Thank you,                21 success in statewide elections' and where 'Alabama's
22 Mr. Holmes.                                              22 extensive history of repugnant racial and
23            MR. HOLMES: Thank you.                        23 voting-related discrimination is undeniable and well
24            COCHAIRMAN PRINGLE: I would for you           24 documented.'"
25 to do me a favor please. Would you sign that and put     25            Alabama also -- this is another --

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 1            COCHAIRMAN PRINGLE: One minute.             1 mean I didn't have the ability to think. If somebody
 2            MS. JONES: All right. I'll hurry it         2 -- some thing, I'm just supposed to agree with it.
 3 up. "Alabama argues that the Gulf Coast region in      3 I'm sorry. I was born a soul. I'm an individual
 4 the southwest of the State is a community of           4 person. And I stick to the Declaration of
 5 interest."                                             5 Independence, that says "We hold these truths
 6            The Supreme Court says, "We do not          6 self-evident that all men are created equal."
 7 find the State's argument persuasive." They also,      7           So I stand by that and that's why I'm
 8 that's the end of the quote, but the Supreme Court     8 here today. I want to make sure no matter where
 9 opinion also went into a lot of detail to explain why  9 you're at, that you recognize that there are people
10 they felt like Alabama's theory of race neutral map   10 like me that -- well, I've been stereotyped. They
11 drawing was wrong and erroneous and disagreed in      11 say, well, you're black, so you must vote this way.
12 every respect.                                        12 This is what -- I'm determined to the vote.
13            And so the only viable option is left      13           COCHAIRMAN PRINGLE: One minute.
14 for the reapportionment committee is to create a      14           MR. FULLER: Thank you.
15 congressional map, which complies with this --        15           And I think that is wrong. I think
16 direction, meets all three, the Voting Rights Act,    16 that is wrong on all of our parts, whether you're
17 federal law, and meets all three of the Gingles       17 black or whenever you're white just to label
18 preconditions, and creates two black-majority         18 somebody. Are you Democrat? Republican? I just
19 congressional districts where black voting age adults 19 happen to vote how I think. So I'm a person that
20 have an opportunity that long lasts to elects the     20 think a particular way. Most people don't think the
21 candidates of their choice. Thank you.                21 way I think and that's okay. I think you got a right
22            COCHAIRMAN PRINGLE: Your timing was 22 to think and that's good. I'm an individual soul.
23 perfect. Thank you so much.                           23 So, please, keep in mind: Do not do what you're
24            The Chair now recognizes Camilo Fuller     24 doing based on stereotypes. Because most of my
25 from Bessemer. Am I saying that right? Thank you.     25 neighborhood is black, most of my neighborhood is
                                                   Page 43                                                       Page 45
 1           MR. FULLER: To all you guys, I really            1 Democrat. I'm totally left out, so I guess I'm
 2 appreciate you taking time to listen to us, and I'm        2 supposed to move or something. I don't think that's
 3 glad that you took time to listen to the public. I'm       3 so. I think you should not do it based on
 4 one of the public, and my name is Camilo. That's a         4 stereotype.
 5 Spanish name. In my life, the whole of my life,            5            Thank you very much for your time.
 6 people have stereotyped me as being something that         6            COCHAIRMAN PRINGLE: Thank you.
 7 I'm not. I have on the constitution shirt. The             7            The Chair now recognizes Davin
 8 reason I do, because we have a lot of people that          8 Rosenberry (phonetically)? From Pennsylvania? Do I
 9 have opinions.                                             9 have Davin here? Who's Davin? You are.
10           I really like the opinions of our               10            MR. ROSBOROUGH: Hello.
11 forefathers. They started with, "We the people."          11            COCHAIRMAN PRINGLE: Okay. Because
12 And we the people have been left out, and                 12 I've got -- I recognize several of my friends
13 particularly me, I'm a -- in Jefferson County. And        13 standing behind you who have all signed up to speak.
14 frankly, I vote Republican. That would probably get       14 They are the Milligan plaintiffs. Is that correct?
15 me stoned in here because I got a lot of Democrats --     15 Are you speaking on their behalf, or do they want to
16 so I take persecution. In fact, I've been named           16 speak?
17 everything from, if you say Republican, well, you         17            MR. ROSBOROUGH: No. They are going
18 racist. Although, I grew up black. My mom's black,        18 to speak on their own behalf. Actually, I like to
19 and my dad's black. So now I'm experiencing all this      19 turn my time over to them, if that's all right.
20 other stuff that's going on.                              20            COCHAIRMAN PRINGLE: Three minutes for
21           So what has happened to me is I've not          21 all of them or three minutes each?
22 been represented. And I got people that go, well,         22            MR. ROSBOROUGH: Three minutes each, I
23 you've been represented because you're in Jefferson       23 think. Thank you.
24 County. No, because I've been stereotyped, and            24            COCHAIRMAN PRINGLE: Who's the first?
25 thought because I was black, I was Democrat. That         25            MR. SIMELTON: Good afternoon,

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 1 everyone.                                              1            But I state through this legislature
 2            COCHAIRMAN PRINGLE: And you are?            2 has been given another opportunity to correct and to
 3            MR. SIMELTON: My name is Benard             3 get it right this time. The legislature can correct
 4 Simelton. I'm president of the Alabama of the          4 this wrong by discriminating -- against black voters.
 5 Alabama State Conference of the National Association 5 But if either the legislature fails to act or the map
 6 for the Advancement of Colored People. I just like     6 that the legislature adopts does not completely
 7 to say thank you all for giving us this opportunity    7 remedy the violation of Voting Rights Act, then the
 8 to explain to you why we are and what we are asking    8 court will take over and process and impose a map of
 9 you to do.                                             9 its own. The legislature will lose control of
10            COCHAIRMAN PRINGLE: I'm assuming           10 map-joining process.
11 y'all are here to talk in general terms and not about 11            My fellow plaintiffs and I will
12 your specific plan, correct? Or do you want to come   12 discuss the many benefits of our plans, but the
13 back and talk about your specific plan when we put it 13 primary benefit is that the Voting Rights Acts
14 up it on the screen.                                  14 Plaintiffs remedial plan gives the legislature the
15            MR. SIMELTON: I'm here to talk about       15 opportunity to get it right this time. And I urge
16 general terms.                                        16 you to support the Plaintiffs' plan. Thank you so
17            COCHAIRMAN PRINGLE: That's fine.           17 much.
18 Just making sure we're on the same page.              18            COCHAIRMAN PRINGLE: Your timing was
19            MR. SIMELTON: Okay. But that didn't        19 almost perfect.
20 -- the clock hasn't started yet, has it?              20            MR. SIMELTON: Pardon me?
21            COCHAIRMAN PRINGLE: Yeah, it started, 21                 COCHAIRMAN PRINGLE: Your timing was
22 but I'll give you 15 more seconds.                    22 perfect.
23            MR. SIMELTON: Okay. I too would like       23            MR. SIMELTON: Okay. Thank you. I'm
24 to say that I served in the United States Air Force,  24 a perfect person.
25 protecting many of you all. While you were sleeping, 25             COCHAIRMAN PRINGLE: All right. Who's
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 1 i was in the launch site in Grand Forks, North           1 next? Please step to the microphone and identify
 2 Dakota, so that you all could sleep well.                2 yourself.
 3            But as we learn that we're still in           3            MS. DOWDY: Will we be allowed to
 4 the process of protecting our freedom and it's a         4 start talking about our plan now that the Plaintiffs
 5 different type of protection from a different enemy.     5 are up here? Can we talk about our plan since all
 6 Alabama is often has been on the wrong side of           6 the Plaintiffs are up here, or are we still on the
 7 history and the wrong side of justice, from school       7 open commentary section?
 8 segregation, to voting rights, to employment, to         8            COCHAIRMAN PRINGLE: Let's go ahead
 9 criminal justice issues, Alabama has been many times     9 and put the plan on the screen. Can we put it up
10 on the right side -- I mean, the wrong side.            10 there? We're kind of getting out of order. I was
11            Usually, congress and the courts have        11 trying to say general, then we'll be on the plans.
12 had to step in to correct the wrong that has been       12 We're going to get to it. That's the plan on the
13 done. And now the Supreme Court of United States of     13 screen right there. Is that it?
14 America has found that Alabama has, again, erred in     14            MS. DOWDY: That is.
15 its responsibility to be fair and equitable,            15            COCHAIRMAN PRINGLE: And you are?
16 especially when it comes to its people of color,        16            I'll get into it.
17 black people.                                           17            Good afternoon. Thank you for
18            The Supreme Court found that the             18 allowing me to speak today. My name is Shalela
19 legislature in 2021 map violated Section 2 of the       19 Dowdy. Currently, a major in the United States Army
20 Voting Rights Act of 1965 by failing to create a        20 and a plaintiff in the Allen versus Milligan voting
21 second-majority district and dividing communities of    21 rights case, representing the first congressional
22 interest, like the Black Belt. The Court found that     22 district as a citizen from Mobile. I joined the
23 the map passed by the legislature in 2021, dilutes      23 lawsuit because I want someone in congress who is
24 the votes of black Alabamians violated Section 2 of     24 adamant about equality and empowerment in all areas
25 the Voting Rights Act.                                  25 of the congressional district. I joined because I

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 1 want someone who is not afraid to engage in the       1            COCHAIRMAN PRINGLE: Thank you so
 2 demographic, that is the majority in the first        2 much. And you are?
 3 congressional district, which will be the black       3            MS. STONE: Khadidah Stone. Let me
 4 citizens of Mobile.                                   4 know can I go --
 5            I want myself and my community to have 5                COCHAIRMAN PRINGLE: Yes, Ms. Stone.
 6 a seat at the table, rather than be on the menu. I    6 Thank you.
 7 urge the Alabama legislature to support the VRA 7                  MS. STONE: Good afternoon, everyone.
 8 Plaintiffs' remedial plan because it gives the City 8 My name is Khadidah Stone. I'm also a plaintiff in
 9 of Mobile, which has a deep and long standing ties 9 the Allen v. Milligan Case. I joined the --
10 with the Black Belt, an opportunity for real         10            COCHAIRMAN PRINGLE: Where you from?
11 representation.                                      11            MS. STONE: Oh. I'm from Montgomery,
12            At the trial in the case, I testified     12 from here, Montgomery, Alabama. I joined this case
13 about the difficulty that Mobile voters face in      13 because I could not go another ten years without fair
14 getting their congressional representatives to       14 representation for me or my community. In addition
15 support -- infrastructure projects to fully fund our 15 to what my fellow Plaintiffs have said, I support the
16 school and support broad access in health care and 16 VRA Plaintiffs' remedial plan because it addresses
17 hospitals.                                           17 the Court and the communities concerns about the need
18            The VRA Plaintiffs' plan connect          18 for a district that would actually elect
19 Mobile with the Black Belt that is very similar to 19 black-preferred candidates.
20 the State Board of Education plan passed by the 20                 In its decision, the three-judge court
21 legislature in 2021. Since 2010, when the            21 instructed that, as a legislator considers remedial
22 legislature began connecting Mobile and the Black 22 plans, it should be mindful of the practical reality
23 Belt in the State Board of Education District 5,     23 based on the ample evidence of intensely racially
24 Mobilians have been able to select black preferred 24 polarized voting adduced during the preliminary
25 candidates to the State Board of Education.          25 injunction proceedings. That any remedial plan will
                                                  Page 51                                                       Page 53
 1           The VRA Plaintiffs' plan is also very           1 need to include two districts, in which black voters
 2 similar to the plans approved by the three-judge          2 are either comprised of voting-age majority or
 3 court and the United States Supreme Court as              3 something quite close to it.
 4 constitutionally acceptable remedies to the VRA           4           Congressional District Two in our plan
 5 violations. The VRA Plaintiffs' plan is the only          5 is 51 percent black citizens voting-age population.
 6 plan which has already been evaluated in a similar        6 Congressional District Two would also have about 5
 7 form by both District Court and the Supreme Court.        7 percent other minority population and a 44 percent
 8           Both of these courts found the VRA              8 white citizen voting-age population. 52 percent of
 9 Plaintiffs' plan decision to connect parts of Mobile      9 the registered voters are black according to the
10 County to the Black Belt, very constitutionally          10 Secretary of State's voter registration records.
11 acceptable. The Court also found that the VRA            11 Congressional district seven is 56 percent black
12 Plaintiffs' plans were reasonably configured as they     12 citizen voting-age population and 58 percent of the
13 were similar to or better to the legislature's plan      13 registered voters are black.
14 in complying with redistricting principles. The VRA      14           The two majority black districts will
15 Plaintiffs' plan has the strongest defense against       15 give black voters in those districts the ability to
16 any argument that the plan either uses race in a         16 elect candidates of their choice and statewide
17 unconstitutional manner or doesn't comply with the       17 elections from 2014 to 2020. The VRA Plaintiffs'
18 VRA.                                                     18 expert witnesses in the litigation analyzed that
19           This cannot be said of any other plan          19 black candidates carried these districts even though
20 that has been introduced. Please remove the work         20 they lost at a statewide level. We have heard
21 that has been done this far to get us here and           21 concerns about the presence of people in prisons in
22 respect those efforts by choosing to support the VRA     22 our district, meaning that black voters won't have an
23 Remedial Plan. I wholly support our plan and ask         23 opportunity to elect their candidates of choice in
24 that the Committee and the legislature support it        24 these districts. But even accounting for people in
25 too. I thank you for the opportunity and your time.      25 prisons, our districts are still majority black.

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 1           According to the Alabama Department of             1           Billions of dollars will be spent to
 2 Corrections there are about 4000 people -- okay.             2 make broadband accessible to rural communities like
 3 There are about 4000 people in the prisons in Bullock        3 the Black Belt. However, we haven't received any of
 4 and Butler County in our VRA Plaintiffs'                     4 information in our community from out congressional
 5 Congressional District Two. And although the Alabama         5 member about these dollars. Representation matters.
 6 Department of Corrections does not provide a racial          6 And that is the key premise of Section 2 of the
 7 breakdown, even if all 4000 of those people in prison        7 Voting Rights Act, on which we base our lawsuit.
 8 were black, the VRA Congressional District Two would         8           So I urge you all to listen to our
 9 still have a black majority for over 2500 citizens.          9 concerns, to hear us, to understand the importance
10           Like my fellow plaintiffs, I'm                    10 that representation does matter. And we need
11 confident that our plan will provide black voters           11 representation. And we need our voices heard. Thank
12 with a fair opportunity to elect candidates of their        12 you.
13 choice. Thank you so much for your time.                    13           COCHAIRMAN PRINGLE: Thank you. I
14           COCHAIRMAN PRINGLE: Thank you. And                14 think we all recognize you.
15 you are welcome.                                            15           I recognize you too, sir.
16           MS. DANIELS: Good afternoon. I'm                  16           COCHAIRMAN PRINGLE: But you do have
17 trying to get my comments here, sir. Okay. Here we          17 to state your name for those who are watching on live
18 go. Good afternoon. My name is Latetia Daniels              18 stream.
19 Jackson, and I am from the great circle city of             19           MR. MILLIGAN: Yes, sir. Good
20 Dothan, Alabama. You all heard from my former mayor,        20 afternoon. My name is Evan Milligan, Executive
21 who I'm also called to my friend earlier. And I'm           21 Director of Alabama Forward. I'm also long-time
22 glad that he agrees that Dothan should stay with            22 resident of Montgomery, and my maternal side, my
23 Montgomery because that is exactly what our map does.       23 mother's side, have been living in the Black Belt
24           Representation matters. Having                    24 area for at least eight generations. I'm six
25 someone who understands your community and -- your          25 generations removed from enslavement, and my son and
                                                     Page 55                                                   Page 57
 1 community issues and concerns in an elective body is   1 daughter are the seventh generation. When I look at
 2 important. I decided to join this lawsuit because I    2 them, I want to commit to them inheriting in Alabama
 3 hadn't felt represented on a federal level for a       3 that allows them an opportunity to lead, to dream,
 4 very, very long time. In fact, I never received any    4 and to make contributions to the community. The same
 5 correspondence at all from my congressional member     5 that you want for your children and you
 6 until I became a plaintiff in this case. He has,       6 grandchildren.
 7 never to my knowledge, been in my community, never 7                When you look out in the audience
 8 held a town hall meeting or any other meeting in the   8 today, you see lots of young people. And what I hope
 9 black community. And when I received notices of        9 is that -- you see them as your children, as
10 meetings, they are never anywhere near where black    10 Alabama's children. There are young people here that
11 voters live and frequent.                             11 are participating in summer activities to learn about
12           When elected, even though we may be         12 leadership. They can be doing anything. And what I
13 from different political ideologies and may not agree 13 want for these young people to know that there is a
14 on much, it is important that the elected leaders of  14 future for them in this state.
15 our community represent the whole community. To talk 15             Representative Pringle, you mentioned
16 to us and to attempt to gain some knowledge and       16 that there are maps that have been sent in from New
17 understanding of our issues and things that concern   17 Zealand, from far, Australia, maybe. We all know
18 us, to communicate with us about federal dollars      18 there are Alabamians living all around the world
19 coming into the state that can be accessed by our     19 making contributions. Many of them have left the
20 communities to address the needs that we have, such   20 state. We talked about exporting our home, growing
21 as the digital divide, but we understand there are    21 our babies. We need to build a state that actually
22 millions, millions of dollars set to come in from the 22 looks into our future in this country, embraces our
23 state to address the broadband issues --              23 promise as a multicultural community and provides a
24           COCHAIRMAN PRINGLE: One minute.             24 path forward, so that young people like we see
25           -- the gap.                                 25 sitting here today, can see themselves in position of

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 1 leadership. This congressional district that we're     1 Court, were the Milligan and the Caster plaintiffs,
 2 talking about today can provide one path forward for   2 my clients here.
 3 that. We've mentioned some of the things that are      3            The Singleton Plaintiffs respectfully,
 4 featured on our map, but I really just want you think  4 have not won anything in the District Court or in the
 5 about the soul of the matter. Do you see as your       5 Supreme Court. Second, there's been some
 6 children?                                              6 conversation from my good friend and colleague Jim
 7            You, as the State of Alabama                7 Blacksher about whole county plan. We have looked at
 8 representing us, do you see us as people that are      8 the results of the elections that Mr. Blacksher
 9 qualified to lead, to serve, those of that are         9 provided to you. The black and black-preferred
10 serving in the military to die, to show up when there 10 candidates lost 5 out of the 11 biracial elections in
11 are tornadoes, to show up when there are accidents on 11 the Singleton whole county plan.
12 our highways? If we qualified to serve in those       12            They lost four of the biracial
13 areas, then please consider how you can design a map 13 elections in the CLC Plan, that Mr. Blacksher is
14 that can allow us to serve at the federal level. In   14 talking about. As my clients testified, that's not
15 the eyes of the nation -- and the eyes of the nation  15 true for the elections that were analyzed for the
16 are looking at you, I know it's hard. I know you      16 Plaintiffs' remedial plan. The black-preferred
17 have people that you answer to. I know this is not    17 candidates and black candidates won all of the
18 an easy job. But if you can cut out the noise, look   18 biracial elections that were analyzed between 2014
19 within, you can look to history.                      19 and 2020.
20            You can make a mark in history that        20            I think -- one other thing is really
21 will set a standard for this country, the same way we 21 important to emphasize here. Because my clients are
22 done with NASA and technology up in Huntsville down 22 the only ones who have actually won a case, the
23 to all the aquatics industry down in Mobile and the   23 Supreme Court considered arguments about communities
24 sports that we talked in Tuscaloosa and Auburn. We    24 of interests, considered arguments about the Black
25 can do that same thing with our government and our    25 Belt as a community that has been discriminated
                                                   Page 59                                                    Page 61
 1 education, and it starts with this conversation.           1 against for close to 200 years. And the Supreme
 2            So I hope that you would consider what          2 Court found that the Black Belt is a significant
 3 we've said. Consider our map. We thank you for your        3 community of interest. It's a community that
 4 time.                                                      4 deserves representation, just like every other
 5            COCHAIRMAN PRINGLE: Thank you,                  5 community in Alabama.
 6 Mr. Milligan.                                              6            So with that, I'll leave you all. As
 7            MR. ROSS: How are you all doing? My             7 I said, I'm trying to summarize this letter that we
 8 name is Deuel Ross. I see my name on the list there.       8 sent to Mr. Walker at his request. But if you all
 9            COCHAIRMAN PRINGLE: I see. And                  9 have any questions, I'm happy to -- my clients and I
10 you're from where?                                        10 are happy to answer them. Thank you.
11            MR. ROSS: I'm the lead attorney for            11            COCHAIRMAN PRINGLE: I thank you for
12 the Milligan Plaintiffs to argue the case in the          12 your testimony. We're going to talk about your plan
13 Supreme Court.                                            13 later. Y'all jumped in front of everybody else. So
14            COCHAIRMAN PRINGLE: And you live?              14 before we start a question and answer on your plan,
15            MR. ROSS: I live in DC.                        15 we're going to finish -- we're going to go in the
16            COCHAIRMAN PRINGLE: Okay. That's               16 order.
17 what I thought.                                           17            I don't mind doing it. I want you to
18            MR. ROSS: I was asked by the attorney          18 understand that, but y'all kind of jumped in and
19 for the cochairs to read from a letter that we sent       19 wanted to talked about your plan when we're in
20 to him on behalf of the Milligan and the Caster           20 general discussion. Let me talk to Davin Rosborough.
21 plaintiffs. I'll try to paraphrase. I think you all       21 And we're going to get back to you and let you talk
22 have copies of it. The letters make four points.          22 about your letters and your plan.
23 The first is that our clients were brave enough to        23            MR. ROSBOROUGH: Thank you. My name
24 speak today in this case. The only ones who won a         24 is Davin Rosborough. I'm cocounsel for the Milligan
25 case so far, the only ones who were in the Supreme        25 Plaintiffs. I'm a lawyer with ACLU Voting Project.

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 1 I just want to make a few comments addressing some     1 military, I could have moved anywhere in the world,
 2 things that have been said today that I hope will be   2 anywhere in the country, I decided to move back to
 3 helpful for consideration as you all consider to vote  3 Alabama. I live in Pelham. And today, July 13, two
 4 on plans.                                              4 years ago something specially unique happened in
 5            First of all, although the victory in       5 Alabama. I stand before you today, as celebrating a
 6 the Milligan/Caster cases, which was affirmed by the   6 two-year anniversary of being elected to the Alabama
 7 Supreme Court was from a preliminary injunction. It    7 State Legislature as some people it's say it's a
 8 is a final judgment for purposes of the 2024           8 historical event.
 9 elections at least. Second, we've heard a lot today    9            The first person of color elected to
10 about the redistricting guidelines that this          10 Alabama State Legislature since reconstruction,
11 committee passed. We heard about Voting Rights Acts 11 approximately 140 years ago -- although I capture
12 compliance. We've heard about communities of          12 that historic moment for about five seconds, but my
13 interest.                                             13 takeaway is what Dr. King said in 1863. He said, "I
14            Communities of interest are obviously      14 look to the day where people would not be judge by
15 an important consideration in drawing any plan. I     15 the color of their skin, but by the contents of their
16 like to point out, though, the committee's own        16 character."
17 guidelines here, recognize that the Voting Rights     17            The people Shelby County, my district,
18 Act, Voting Rights Act compliance take precedence     18 they did not vote for me because the color of my
19 over some of those other provisions, specifically     19 skin. They voted for me because they saw a
20 Part J of the redistricting guidelines say, the       20 God-fearing man, a veteran who serves the country,
21 following redistricting policies are to be followed:  21 loves the country, who got out and engaged with the
22 "To the extent they do not violate or subordinate the 22 people in the community.
23 following policies prescribed by the constitution and 23            And so your task to represent the
24 laws in the United States and the State of Alabama,   24 people in your district, and also everyone else in
25 that of course includes the Voting Rights Act."       25 this state, you have a tough task before you. I just
                                                  Page 63                                                   Page 65
 1            Finally, I want to address a comment        1 wanted to take a few minutes and to kind of share
 2 that a gentleman made earlier today about              2 that with you because what I'm hearing -- what I've
 3 redistricting based on stereotype. The rulings that    3 been hearing is, a lot of focus on -- and skin color.
 4 this Court made were based on hours and days of        4           I just wanted to let you know, Alabama
 5 testimony, hundreds of thousands pages in the record,  5 -- once again, I could have moved anywhere in the
 6 many hundred page decision, which was then heard and 6 world, anywhere in the country. And I stand before
 7 affirmed by the United States Supreme Court. They      7 you today as a proud American, as a proud father, as
 8 show stark racially polarized voting in Alabama.       8 a proud black man that lives in Alabama and
 9 Race still infuses the political system here. And      9 represents the great people in Shelby County in a
10 that's why the race-conscious remedy that's           10 Republican party.
11 presented, which still respects political boundaries  11           I just wanted to say you have tough
12 and communities of interests, like the Supreme Court 12 task before you. But just please listen to what I
13 recognized is a proper remedy. Thank you.             13 share with you, and say Dr. King's dream is alive in
14            COCHAIRMAN PRINGLE: Again, thank,          14 Alabama. We have come a long way, and I'm living
15 y'all after we get off the general discussion portion 15 proof that it is not based on color, as far as
16 of this.                                              16 representative -- I represent everybody in Shelby
17            So with that, the next person that is      17 County. Thank you for your time.
18 signed up is Kenneth Paschal from Pelham, Alabama. 18              COCHAIRMAN PRINGLE: The Chair now
19            MR. PASCHAL: Thank you for the             19 recognizes Donna George from Newton.
20 recognition.                                          20           MS. GEORGE: Thank you, Chairman. I'm
21            COCHAIRMAN PRINGLE: Thank you for 21 here today to talk about an important issue and
22 being here. State your name for the record so they    22 something that is deeply concerning to me. It's a
23 can hear you.                                         23 stereotype that leaves black voters completely
24            MR. PASCHAL: My name is Kenneth            24 forgotten and ignored. I'm a black Republican, and
25 Paschal from Pelham, Alabama. After 21 years in the 25 I'm here to represent thousands of black voters, who

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 1 are also Republicans, that stereotypes of all black         1            So today, I am here to ask on your
 2 voters are not Democrats.                                   2 behalf to please if we vote for you, let us know
 3            And it's disrespectful to black                  3 what's going on, let us know how our lives are being
 4 Republicans across the state and across the country.        4 impacted, let us know what we need to do. The
 5 I hope that you all take us and our opinions into           5 information that's been given here today and so many
 6 account when drawing district lines. We deserve a           6 people do not know that this stuff is happening.
 7 voice too. Thank you for your time.                         7            It is necessary for us, as citizens of
 8            COCHAIRMAN PRINGLE: Thank you so                 8 Alabama to be aware what it is that's going on in
 9 much.                                                       9 your community. As a associate for the Black Belt
10            Now, the Chair recognizes Belinda               10 Foundation, it is important because we have
11 Thomas from Newton.                                        11 individuals who are doing the work, and they're not
12            MS. THOMAS: Good afternoon. My name             12 getting recognized for anything that they're doing in
13 is Councilwoman Belinda Thomas. I represent the            13 Alabama. It's really sad that while we're here, at
14 great town of Newton, Alabama in the great area of         14 this point in history, in 2023 we are the living
15 the Wiregrass. I am the first African American to be       15 legacy of the individuals that have died for the
16 elected council. I was the only female to be elected       16 opportunity to sit in a seat for the opportunity to
17 council. I'm a patriot. I'm a Republican. I love           17 sit over here and lead the individuals.
18 this state. I love my party.                               18            So whether or not, I am a black
19            It is unfair that we talk about                 19 Republican or a black Democrat, should not matter as
20 redistricting based on color. Because the city I           20 to whether or not the things that we do and the
21 live in, the state I live in, it's not a lot of us.        21 things that you -- the laws that you dominate us
22 So I was elected for my beliefs. And what I wanted         22 within our community, we as individuals, we as
23 to do for the people, not because of my color.             23 citizens, it is necessary that we are informed.
24 I'm also a business woman bringing industry to the         24            And Alabama Forward, I thank you guys
25 state of Alabama, through my company, Alabamboo, not       25 for the work that you do. Because if it wasn't for
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 1 based on color, based on building infrastructure,      1 that you did, a lot of us within our communities
 2 bringing jobs bringing opportunity. I'm also the       2 would not be aware of the things that's been going
 3 founder of a nonprofit that bills farmers, not based   3 on. So I say thank you because we do need to have
 4 on color, not based on districting but based on need.  4 forward movement, but it has to be from a place of
 5           I pray that when you look at this, you       5 consistently united. We have to unite. The
 6 see me as a black Republican, but as a woman, and not 6 Republicans and the Democrats have to come together
 7 based on whether I'm Democrat or Republican based on 7 because we live together.
 8 what's right. I feel that Wiregrass is an area that    8           So being two percent Republican in
 9 needs to stay together, and stay with Montgomery.      9 Macon County that doesn't mean I'm a "anti-my
10 Thank you.                                            10 people," it means I want to work for my people. And
11           COCHAIRMAN PRINGLE: Thank you so            11 I am here today to ask my leaders, the people who
12 much. The Chair now recognizes Tia -- is Lennora      12 represent me, the people that I voted for, to please
13 Pierrot? I got it. Yay.                               13 inform the people. Because we don't know what's
14           MS. PIERROT: Good afternoon. I am           14 going on. I live in Macon. Lee County has such a
15 Tia Lennora Pierrot. I am representing Macon County. 15 better educational system in Macon County, and it's
16 I am here today truly thankful for the opportunity    16 not right. So I need representation. Thank you.
17 the be here in Alabama. I have been here for 11       17           COCHAIRMAN PRINGLE: Thank you so
18 years, and within those 11 years, I have really seen  18 much. The Chair recognize Benard Simelton -- you
19 the lack of for us for African Americans. And it is   19 already started -- I love you, but no.
20 really important as leaders who are representing us,  20           Yolanda Flowers from Birmingham?
21 we need to be informed. We, as citizens, are not      21 Yolanda Flowers from Birmingham? Okay. I heard a
22 informed. We vote for you, and we don't get the       22 voice.
23 information that we need. We don't know what it is    23           MS. FLOWERS: Good afternoon. I'm
24 that's happening. We don't know what and how you      24 Yolanda Flowers from Birmingham. I was told that I
25 guys are leading our lives.                           25 am -- I just sign in. So I just followed suit. I

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 1 just did what I was told to do. But -- in regards --   1 14th and 15th Amendments. I have not heard anyone
 2 since I'm here, I would like to talk about             2 bring up the dissenting opinion -- opinion of Justice
 3 representation as we've heard several people have --   3 Thomas, who has been hearing cases on Voting Rights
 4 have voiced. And it is important. We do know the       4 Act for over 30 years. Thomas' opinion specifically
 5 schism that is taking place in our state, which is     5 addresses congressional district -- and communities
 6 not good. But none of us know if it's fair.            6 of similar interest. It specifically states, it is
 7            And so I'm being as one is                  7 indisputable that the Gulf Coast region is a sort of
 8 representing many others, both Democrat and            8 community of interests that Alabama Legislator might
 9 Republican because we are here and we do have          9 reasonably think and congressional districts should
10 liberals as well. To -- to think about the whole, to  10 be built the route.
11 not think about one party or the next but to think    11            With the Plaintiffs' remedial map, you
12 about what is best for everybody and I believe that's 12 can have a congressional district that is Mobile to
13 what -- Legislators, you all have been missing the    13 Dothan lumping a congressional district from Alabama
14 mark in terms of us citizens, to hear our voices, to  14 Mississippi lines into Dothan region will complicate
15 know what is fair, considering the history of Alabama 15 major economic policy initiatives like the Interstate
16 and all so please bear that in mind in regards to all 16 10, Mobile River Bridge and Bayway project that
17 of us, because it behooves all of us. If Alabama is   17 connects downtown Mobile to Baldwin County. Is that
18 to -- to thrive and to do better than what Alabama    18 a priority for someone that lives in Enterprise? Or
19 has done. The history of Alabama is not good. And     19 will for -- the Ross Clark Circle in Dothan be a top
20 we know that and you all are in a prime position to   20 priority for somebody in Foley.
21 make it best for all of us. The whole country, even   21            Another issue that should concern all
22 the whole world as I stated during the campaign, if   22 of us as earmarks for federal budget appropriations.
23 we're looking at Alabama, we know Alabama is a racist 23 We would to have two large universities with South
24 place. I gotta say it, you know, the foundations      24 Alabama and Troy. Then you have Coast Guard aviation
25 have not been fair, and as much blood has been spilt  25 training center in Mobile, and army -- aviation
                                                   Page 71                                                    Page 73
 1 on this ground and -- and has produced strange fruit.  1 training center at Fort Novosel. Both are critical
 2           So I've just -- just thank you for           2 training for aviators for national defense. There
 3 listening. And I pray that God will arrest y'all's     3 are only so many earmarks you can get in one
 4 heart when you all go to make the decision that you    4 congressional district. They close -- Mobile,
 5 will make it right. If Alabama is to be healed,        5 Baldwin counties are a community of interest. I will
 6 please make it right for us all. Thank you.            6 remind this committee that none of you had any
 7           COCHAIRMAN PRINGLE: Thank you, Ms. 7 problem reaching in the Baldwin County and absorbing
 8 Flowers.                                               8 the entire city of Spanish Fort to create a new
 9           The chair now recognizes Patrick             9 senate District 33, which is 73 percent black and 23
10 McWilliams from Spanish Fort.                         10 percent white.
11           MR. McWILLIAMS: Good afternoon,             11           I think we can all agree there is no
12 Cochair Livingston and Cochair Pringle as esteemed    12 easy way to make this fair and equitable for
13 committee members. I am Patrick McWilliams from       13 everyone. But however, this may fall out the
14 Spanish Fort. I am also the chairman of Baldwin       14 Plaintiffs' remedial map will negatively impact not
15 County Republican Party. I am here today because the 15 only coastal Alabama, but the socioeconomic health of
16 Senate and the House leadership saw fit not to        16 the entire state. Thank you.
17 appoint anyone to this committee that resides in      17           SENATOR FIGURES: Mr. Chairman?
18 Baldwin County. I think it is worthwhile to state     18           COCHAIRMAN PRINGLE: Thank you. Yes,
19 the merits of Allen versus Milligan and how it        19 Senator Figures?
20 pertains Baldwin County and Coastal Alabama.          20           SENATOR PRINGLES: I just like to tell
21           Baldwin County because of Alabama. We       21 the young man that I was a part of that person who
22 need to call it like it is with this ruling. This     22 got in Baldwin County, and you're my constituent.
23 was a 4.75 to 4.25 vote. Justin Cavanaugh said that   23 But I didn't vote for that plan, so -- the same
24 on Part 3 B1 of Chief Justice Roberts' opinion. This  24 people who voted for this congressional plan and went
25 margin is as razor thin as it gets concerning the     25 to the Supreme Court, and they voted it down, then --

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 1 those are the same people who put me in your county.       1           That concludes our discussion on the
 2 I just wanted to make that clear to you.                   2 general issue of redistricting and reapportionment.
 3            COCHAIRMAN PRINGLE: Thank you,                  3 Now, we'll move to -- if the clerk will please put up
 4 Senator. Thank you, Mr. McWilliams.                        4 the VRA Plaintiffs' remedial map on the screen, and
 5            Now, the Chair recognizes the final             5 we'll begin discussing this particular map.
 6 person on our general then we'll go to the individual      6           The Chair now recognizes Travis
 7 plans. Reverend Rayford Mack.                              7 Jackson for the purposes of discussing this plan.
 8            MR. MACK: Good afternoon, committee             8           MR. JACKSON: Thank you all for
 9 members. I came here today with a written-out              9 allowing me to be here, Chairman, and all the
10 appeal, but after hearing and feeling what has            10 reapportionment committee members. Thank y'all for
11 happening, I had to throw that out the window. If         11 what you do for our community, as well as state.
12 the committee itself that's working on the plan, is       12           My name is Travis Jackson, just like
13 not initiating and doing the right things to come up      13 many countless people that have spoken, I am too a
14 with -- what needs to be done, how is it going to         14 war veteran. I am a war veteran of the Iraq
15 move forward?                                             15 Campaign. I deployed for 15 months during Bush Jr.'s
16            Senator Smitherman stated that this is         16 -- from 2007 through 2008. I'm also a huge advocate
17 a new start. We're here today because of power and        17 for Black Lives/Voters Matter. I'm a firm believer,
18 privilege. We still fighting for power and                18 as you all should believe, that not all voters cannot
19 privilege. There's no way you could deny. We want         19 matters until black voters matter.
20 the privilege to vote, which would give us power.         20           I am a huge supporter of the VRA
21 The committee wants to retain a certain power for a       21 Plaintiffs' remedial map. I say that because after
22 certain demographic. We're here for the same reason       22 researching on my own accord, as well as reading the
23 that got us here before. We're tired of this              23 opinion of the Supreme Court, I've come to realize
24 situation.                                                24 that we for years and years and decades and decades,
25            So I'm going to read the first                 25 Alabama has been national embarrassment, for not just
                                                   Page 75                                                     Page 77
 1 statement. We find ourself at a critical junction --       1 America but a world-wide embarrassment.
 2 always at a critical junction in this state. So for        2           It is long overdue for us to recognize
 3 once and for all, let's do the right thing. You            3 that black voters are -- black voters do deserve not
 4 know, if I had been born white, I would not want to        4 only fundamental rights, but they do need to have
 5 give up my privilege, this unforeseen, unknown             5 their proper recognition as being political
 6 privilege that I have. I would not want to do that.        6 superheroes of the land. I -- if you all do vote and
 7 In all honesty, it's no way that you can come about        7 support of the VRA Plaintiffs' remedial map, I have
 8 this being fair, but you can't be fair, but you can        8 some few suggestions for y'all to take into
 9 do the right thing.                                        9 consideration, and I will speak on the
10            COCHAIRMAN PRINGLE: One minute.                10 recommendations.
11            MR. MACK: So I grew up in Mobile. I            11           I highly recommend that there is
12 spent the past 30 years in Montgomery. I know what        12 voters with disability. I urge you all to consider
13 city-wide elections -- everybody in the county voting     13 voting accessibility, as well as disable
14 for who they wanted to vote for, majority is white.       14 accessibility in the buildings, inside and outside of
15 It's time for a change. It's time for a change.           15 the buildings. I highly recommend that there will be
16 And, if you there sitting on the committee, don't see     16 actually adequate or adequate or healthy water. I
17 that, we will be right back here again in 2053,           17 recommend that there is no police presence whatsoever
18 fighting these same issues because of power and           18 because in the year and years since black voters have
19 privilege, and nobody wants to share in this power        19 had the fundamental rights to vote. The police have
20 and privilege.                                            20 been camouflaged as, many of them, as the Ku Klux
21            But we'll be here to fight for our             21 Klan by intimidating black voters every time they go
22 rights as citizens in the state of Alabama and            22 to the voting poll. They do so through unethical
23 citizens of America. Thank you very much.                 23 search methods, whether it's patting down or
24            COCHAIRMAN PRINGLE: Thank you so               24 commanding them to empty all the items in their
25 much, Reverend.                                           25 clothing or purses or bags or whatsoever.

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 1            And they also -- and they also stopped          1            I would like for you to look at these
 2 and pulled people over, black voters in particularly.      2 lines, just from this paper that I have received that
 3 This is in my opinion, this is not the Ku Klux Klan,       3 Senator Smitherman and three, four other senators,
 4 but any police force that intimidates minority             4 Representative Hall have brought to y'all's
 5 voters, I like to call them the "Blue Klux Klan."          5 attention. The disrespect of the court system, that
 6            In consideration -- in conclusion, I            6 y'all turn around and rewrote something to fit what
 7 would just like to say when this map is voted upon         7 y'all wanted. I just really hope that you all do
 8 that you look at all voters as equal and not just          8 this on no -- be on the right side of history, on
 9 white voters only. Because all voters can't matter         9 this decision.
10 until black votes matter. Thank you.                      10            We have the whole world looking at us.
11            COCHAIRMAN PRINGLE: Thank you, sir.            11 They already think we're a bunch of country bumpkins
12 I'm going to ask people testifying, talk about the        12 and the most racist state in the world. Make sure
13 plan. What we're here to talk about is the VRA            13 that you represent your families. Y'all have
14 Plaintiffs' remedial map. That's the issue before         14 families that's going to look back in history and see
15 this committee. We need to stay on the issue before       15 what you were doing because of a race issue that
16 the committee and what this map before you looks          16 should not be addressed through this. Do the right
17 like.                                                     17 thing. Draw the lines right. Do not send us back to
18            The Chair now recognizes Khadidah              18 the court system. Used the maps that the Plaintiffs
19 Stone from Montgomery? Y'all don't want to speak          19 that have given you. Everyone told me, you go up
20 again. Okay.                                              20 there, they are not going to pay any attention to
21            Reverend Mack has already spoken.              21 nothing that you say. They are going draw it on
22 Mike -- I can't read. Looks like from Montgomery          22 party line. But I am hoping that you don't.
23 Mike Mila [sic]?                                          23            I am hoping that you would be on the
24            Didn't she already speak? Latetia              24 right side of history and do what the courts ask you
25 Daniels Jackson -- Commissioner Sheila Tyson.             25 to do.
                                                   Page 79                                                     Page 81
 1            MS. TYSON: It's lunchtime, now,                 1            COCHAIRMAN PRINGLE: Thank you so
 2 y'all, right?                                              2 much, Commissioner.
 3            Good afternoon. I brought some maps             3            Chair now recognizes Bianca Baxter
 4 since y'all have maps, you have so many, but I             4 from Montgomery.
 5 brought the Plaintiffs' map, and I wanted y'all to         5            MS. BAXTER: Good afternoon, everyone.
 6 know that's the one I'm supporting. And my speech          6 My name is Bianca Baxter. I am 16. I am in the 11th
 7 today, to what I wrote -- I'm just going to disregard      7 grade at Brewbaker Tech Magnet High School. I'm
 8 that. I want you to know I am a county commissioner        8 speaking today on the Southern Youth Leadership
 9 in Jefferson County. I have people that represent me       9 Development Institute founded by Ms. Doris Crenshaw.
10 that sit on this committee in Jefferson County. I am      10 While my fellow students had to leave, I am here to
11 here as a county commissioner, but I'm also here for      11 speak on our behalf and bring awareness to a
12 a convenor for the Black Women's Roundtable.              12 situation.
13            I am became a convenor for the Black           13            First, I would like to open with a
14 Women's Roundtable because of the representation of       14 quote from Kofi Annan, "We may have different
15 black people and black women and children that we         15 religions, different languages, even different color
16 were not receiving in the state of Alabama. We work       16 skins, but we belong to all one human race." This
17 out four counties in this state. We have women and        17 summer we've been learning about the current status
18 children that are not being represented in this           18 of the Allan vs. Milligan case. We are grateful for
19 state. We have access to resources from out of the        19 those who have taken extreme efforts to bring
20 state of Alabama that we have bring to this state in      20 attention to this state issue of restricting. As
21 order to cover the counties that they are being           21 Milligan stated earlier, we deserve to know and be
22 represented in. From clean water, health care, food       22 acknowledged as a part of this human race as well.
23 deficiencies, throughout this state, educational          23            Soon, we will be included in civics,
24 program. I can go -- utilities -- I can go on and on      24 processes, as well as informed citizens. We hope to
25 and on.                                                   25 make the greatest impact possible with our vote. As

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 1 youth in Alabama, we will be included in the voting          1 blacks that being affected the most. You can't know
 2 process in these upcoming years. This aspires us to          2 how it feels. We always talk about being accounted,
 3 learn about other injustices that may impact my              3 being accounted. If it ain't the census, it's
 4 future, our future.                                          4 something else.
 5           My question is, or if this map is not              5             And with this redrawing line, why was
 6 passed nor acknowledged by the State of Alabama, what        6 it necessary to cut us up and dice us up and spit us
 7 rights and opportunity will be at risk for my youth          7 out anyway? So is it beneficial for the ones that's
 8 as future voters? Also what statutes will be                 8 writing it? For us to be not include or included?
 9 implemented to ensure the fairest map and effectively        9 Is it benefit -- for their personal gain? We always
10 abided by if this map is in fact passed? That is my         10 been the political puns in Alabama. And being from
11 question to you all. If this is not passed, what            11 Birmingham, I don't have to tell you nothing.
12 will future look like here?                                 12 Because even there, if we leave Jefferson County
13           COCHAIRMAN PRINGLE: One minute.                   13 Birmingham, like it is. It don't need to be cut up
14           MS. BAXTER: I'm going to let that sit             14 and diced up just to set -- power they be.
15 for my one -- I will stand here for my one minute           15             Because the problem we got down here,
16 and, I will acknowledge my question. I will keep            16 it start right down here it behind these walls. It's
17 repeating it. If this is not passed, what will my           17 so unfair to people of color. It always amazing that
18 and my siblings, my children, your children, what           18 the ones who made the decision about the people of
19 will their future look like here in Alabama? I'll           19 color never is the ones that's the people of color.
20 say it again. What will my future look like here in         20 So it don't make sense. So try to understand from
21 Alabama if this is not acknowledged? I matter, you          21 this side, being still counted in 2023, 1965 Voters
22 matter, we all matter. We are all the same. We all          22 Rights Act. What kind of since do that make? It's a
23 believe. 16 young and educated.                             23 horrible feeling. We have to travel to go down there
24           COCHAIRMAN PRINGLE: Thank you. Your               24 just to be recognized. They don't have to try --
25 time has expired.                                           25 just to vote all in favor. And it's still not right.
                                                     Page 83                                                       Page 85
 1             The Chair now recognizes Tammie Smith            1           So factor that in when you want to
 2 from Birmingham.                                             2 chop them up again and redraw -- what difference is
 3             MS. SMITH: Good afternoon. I just                3 it going to make if it's going to be redrawn, and we
 4 got one thing -- well a couple of things. If the             4 going to end right back here with the same problem.
 5 line wasn't drew right this time, what insurance do          5 So if you draw fairly in the first place, because you
 6 we have that it's going to be drawn right now?               6 don't separate the money when it come to what we have
 7 Because if the same people are rewriting them and            7 to pay for. You know, we pay for a lot of the stuff
 8 then do it right, what makes it so special that              8 that you do, so you don't separate that money. So
 9 you're going to draw them properly -- right -- this          9 stop separating us. Thank you.
10 go-round?                                                   10           COCHAIRMAN PRINGLE: Thank you.
11             It's no secret that we've been stacked          11           The chair now recognizes Ron Jackson
12 and packed -- and cut up and spit out as black              12 from Birmingham.
13 people. And on this side of the panel, looking up           13           Okay. Sheila Dowdy from Mobile?
14 there, we fighting the news about it anyway. What           14           Okay. Are any of the members of
15 insurance are we going to get? Because some of you          15 committee have any questions on the VRA Plaintiffs'
16 have no idea how it feels that we still being fight         16 remedial map? Are there any questions from the
17 -- still fighting about -- it's 2023. We still are          17 members of the committee on the Plaintiffs' map? Is
18 fighting for rights to be counted as voters. We             18 there anybody else that would like to discuss the
19 fighting to be counted as voters. They're fighting          19 Plaintiffs' -- yeah.
20 get to decide what they're going to put they next           20           Senator Figures?
21 million-dollar project at.                                  21           SENATOR FIGURES: Thank you,
22             It's -- uneven the playing field is.            22 Mr. Chairman. I just wanted to say that I am honored
23 We still don't get justice. That's so, so unfair.           23 to be the sponsor of that map, and we'll introduce it
24 Even with this stacked and packed and cut up and            24 on Monday.
25 diced up, it's still the blacks -- it's still the           25           COCHAIRMAN PRINGLE: Okay. Thank you.

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 1 No other comments on that matter?                         1 House from Barbour County. And John Teague, a former
 2            Now, if the clerk will please put the          2 senator from Talladega. I want you to do what they
 3 Hatcher Remedial Congressional Plan 1 on the board.       3 did. What did they do? They put Alabama first.
 4            Yes, Representative Almond?                    4 They put Alabama first.
 5            REPRESENTATIVE ALMOND: I'm a little            5             We were doing reapportionment plans
 6 slow. But I do have one question about the VRA            6 back in 1980, and John Teague and Proctor were in the
 7 Plaintiffs' remedial map. Which groups support this       7 same county, Talladega County, but they were two
 8 plan?                                                     8 different districts. At that time, we were trying to
 9            COCHAIRMAN PRINGLE: That's the                 9 put ties together. And those guys met. They knew
10 plaintiffs. I don't think any of the plaintiffs          10 one of them was going to fall through the political
11 left, have they? I see you. I'm sorry.                   11 process, but they agreed to support a reapportionment
12            REPRESENTATIVE ALMOND: So is it only          12 plan that put them in the same district. Because we
13 the Milligan plaintiffs --                               13 were trying to put all the counties back together.
14            COCHAIRMAN PRINGLE: -- y'all experts          14 They said they wanted to put Alabama first.
15 have drawn, correct? Your attorneys and experts --       15             A few years later, Jimmy Clobb, and
16 well, I'm sorry. Mr. Ellis was blocking you.             16 most of you remember him --
17            MR. ROSS: I can answer your question.         17             (Technical difficulties.)
18 What was it?                                             18             DR. LEE: -- the reapportionment plan.
19            REPRESENTATIVE ALMOND: My question is         19 He said he was tired by the federal government having
20 who supports this plan? Is it just the plaintiffs or     20 to do what Alabama ought the do. Jimmy Clobb's
21 do you have other groups?                                21 talking now -- be surprising me too, yeah.
22            MR. ROSS: The Milligan plaintiffs and         22             We talked and put the plans together.
23 the Caster plaintiffs support the plan. You heard        23 If you go back, you are going to find a court case on
24 folks from the audience, including my client, the        24 it at that time. What did he do? He pulled it
25 president of the Alabama NAACP spoke. I heard the        25 together, told Jimmy Evans to come over, said we've
                                                  Page 87                                                       Page 89
 1 president of the Legal Women Voters speak. I heard    1 gotten together, we got a plan that fair to blacks,
 2 Commissioner Tyson speak. So there's a number of      2 and it was. It's a plan fair to white, it was. And
 3 groups and individuals who are supportive of the      3 he told Jimmy Evans, former Attorney General, he said
 4 plan. My clients are the one who brought this case    4 go and tell that judge that we are together and that
 5 and the Caster plaintiffs. Those are the plaintiffs   5 he had to be with us.
 6 who have won so far.                                  6            You know how Jimmy Clobb talks, well,
 7            REPRESENTATIVE ALMOND: Thank you. 7 it was conveyed to the judge that we had a settlement
 8            COCHAIRMAN PRINGLE: Any more               8 and we had one. That ended it. We put it together.
 9 questions for members of the committee while we have 9 We had more blacks in the Legislature and the House
10 the attorney here?                                   10 and in the Senate. I want to remind you -- something
11            Thank you so much.                        11 else another Alabamian said, he said that, today as
12            MR. ROSS: Thank you.                      12 an American, what he likes is constitutional, what he
13            COCHAIRMAN PRINGLE: We're ready to 13 dislikes is unconstitutional.
14 move on. Let's move to the next map please, which    14            So the average Legislature -- if your
15 will be Hatcher Remedial Plan 1.                     15 district is a good district. If it doesn't fit it --
16            The Chair recognizes Dr. Joe Reed.        16 it be kind of strange. The point I'm making, is that
17 Thank you, Dr. Reed, for being here.                 17 -- I'm not going to spend a lot of time rehashing the
18            DR. REED: Thank you for receiving me,     18 history. We know that there will be two majority
19 sir. I'll get straight to the point. First, let me   19 black districts. I believe that -- of the committee
20 thank you for taking time to hear us out, and I hope 20 and other members are you committed, ought to get
21 it's meaningful. A few things I call to your         21 together with the plaintiffs, and let's get this
22 attention. There are three names I like to put       22 matter settled. Why spend all this time when the end
23 before you, going to ask you to do what they did.    23 results going to be -- this is going to be a results
24 One is Lister Hill Proctor, a former senator from    24 tests when it's all over. There will be two majority
25 Talladega. Jimmy Clobb, a former Speaker of the      25 black districts.

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 1           I'll tell you right now, I am in favor            1 broke Morgan County to get to one person, one vote --
 2 of the one that I drafted because it's right.               2 District 5 is very compact. We broke Morgan County.
 3 Because it's right. It is right. This is 48th year.         3 We got a couple of them we did not break. We could
 4 I've been drawing reapportionment plans for 48 years.       4 have broken Blount County and Jefferson. We did not
 5 I'm an old man now. And I look forward to the day,          5 break that because of 42 people.
 6 as Judge Johnson said in 1980, when the citizens of         6           And we figured it was easier and
 7 Alabama can come together and draw a plan itself.           7 better. That should be a footnote in this plan here.
 8 Now, there will be a plan and that will be two              8 It should've been better to keep it as it is, really,
 9 majority black districts. Whether we put them               9 rather trying to get the 42 people so that Jefferson
10 together as Alabamians or whether we let some              10 County have to set up another voting place. All of
11 "outside expert" come in and draw a plan and give it       11 those splits, necessary splits, for constitutional or
12 to us. And we still got that to abide by. That's           12 statory purposes. Because the -- to one person, one
13 all I'm going to say.                                      13 vote, what we call necessary splits. The other ones
14           COCHAIRMAN PRINGLE: Thank you, Mr.               14 are statutory to comply with Section 2 of the Voting
15 Reed. I have a question for you.                           15 Rights Acts. They all, what we call necessary
16           DR. REED: And I thank you for                    16 splits, not -- splits. But they are there and their
17 listening to me. Let's get together and put the plan       17 explanation for it and -- we did at one time have
18 together.                                                  18 another time, but the Court thought it was all right.
19           COCHAIRMAN PRINGLE: I have a couple              19 We don't know what this Court is going to thing
20 questions on the Hatcher. How many counties are            20 because you got different judges.
21 broken in this plan?                                       21           COCHAIRMAN PRINGLE: You're okay with
22           DR. REED: My plan?                               22 it not achieving de minimis deviations? The other
23           COCHAIRMAN PRINGLE: Yes.                         23 plans are zero deviations and yours is not. So
24           DR. REED: Eight.                                 24 you're okay --
25           COCHAIRMAN PRINGLE: Eight?                       25           DR. REED: Now, some plans are zero
                                                    Page 91                                                   Page 93
 1            DR. REED: All of north Alabama is in             1 deviation, and we can be zero deviation if we break
 2 good shape. And let me just say one little thing, I         2 more counties. But 42 people shift to say from
 3 saw one plan where a lot the economy was broken and         3 Blount County to Jefferson County is not enough for
 4 it should not be broken. It doesn't have to be.             4 Jefferson County is not enough for Jefferson County
 5            COCHAIRMAN PRINGLE: Okay. How many               5 to -- another preset. And that is very minus. If
 6 voting precincts are broken in this plan?                   6 this was a plus or minus one plan, we wouldn't have
 7            DR. REED: How many what, sir?                    7 the problem. Plus or minus five, we wouldn't have a
 8            COCHAIRMAN PRINGLE: Voting precincts.            8 problem.
 9            DR. REED: Oh, when I draw                        9           COCHAIRMAN PRINGLE: You broke ten
10 reapportionment plan, I count people, not precincts.       10 counties and broke 87 voting precincts.
11 Because precincts vary from -- depends on what you         11           DR. REED: What's that?
12 want. They county commission may want one kind,            12           COCHAIRMAN PRINGLE: You broke ten
13 Legislature may want another kind. Basically, it's         13 counties and broke 87 voting precincts.
14 people. And all the district lines are together --         14           DR. REED: Yeah. And all of them,
15 and the people -- are you talking about plus or            15 what we call necessary splits.
16 minus?                                                     16           COCHAIRMAN PRINGLE: Did you pair any
17            COCHAIRMAN PRINGLE: Yep.                        17 incumbents together in this plan?
18            DR. LEE: Zero.                                  18           DR. REED: One, you ain't got to.
19            COCHAIRMAN PRINGLE: You got ten                 19 Well, you don't really have to. It depends on what
20 counties split. You have 87 voting precincts split,        20 -- wants to be. If an incumbent wants to be any
21 and you've got --your deviation are higher than zero.      21 black majority district and this would have done in
22            DR. LEE: One of them is a deviation.            22 the Mobile in the second congressional district
23 I can tell you exactly why it's deviated. It was           23 areas. That's what that would have been. If that
24 question whether we were going to break Morgan             24 person want to be in a majority black district, you
25 County. We're going to break Morgan County. We             25 can either make that change.

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 1            COCHAIRMAN PRINGLE: I know where            1 years. But with this many split precincts, that's a
 2 Mr. Carl lives.                                        2 big problem for us and other elections, even when
 3            DR. REED: The bottom list is if you         3 it's just a few split precincts. And you're talking
 4 don't put him in a majority black district, you got    4 about 87, you're talking about chaos at its highest.
 5 -- two incumbents together --                          5             DR. REED: Let me say this about
 6            COCHAIRMAN PRINGLE: And which               6 precincts: You're going to have to split them
 7 incumbents did you pair together in your plan?         7 anyway -- county commission districts. You got to
 8            DR. LEE: As far as I recall, it's           8 split them. There's no such thing -- city council.
 9 first district and the second district. That's         9 You're going to have to split those districts again.
10 Mobile and Coffee County. But the first and second    10 Right now in Mobile right now throwing district lines
11 district.                                             11 for city council. You're going to have to split
12            COCHAIRMAN PRINGLE: You did not care 12 those districts again. One thing that y'all will
13 to represent Congresswoman Sewell and Congressman 13 have, and I'll tell you. Anytime you draw city
14 Palmer together?                                      14 council districts, county commission districts,
15            DR. LEE: Who's that?                       15 legislative districts, school board districts, all of
16            COCHAIRMAN PRINGLE: Sewell and             16 those will impact a precinct. All of them. There's
17 Palmer?                                               17 no such thing as a precinct being sacred.
18            DR. LEE: I don't think so.                 18             SENATOR FIGURES: But we definitely
19            COCHAIRMAN PRINGLE: So you did not 19 need to focus on these districts in the congressional
20 pair those two together?                              20 --
21            DR. LEE: No, sir -- I was just double      21                (Cross-talk.)
22 checking with my assistants here. No. They're not     22             SENATOR FIGURES: We are -- that vote.
23 together. One is in Hoover, and one is in             23 Get that to see.
24 Birmingham. They in different districts altogether.   24             DR. REED: It does not matter,
25 This plan does not have a crooked stuff, sliders fast 25 Senator. I can promise you it don't matter.
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 1 balls, curves, anything. It's an old plan designed          1           SENATOR FIGURES: I won't argue with
 2 for two things. That's as clean as I can be with            2 you, Dr. Reed. Thank you, Mr. Chairman.
 3 you.                                                        3           COCHAIRMAN PRINGLE: Thank you,
 4            This plan is to get two majority black           4 Senator. Does anybody else have a question of the
 5 districts, not close, two majority black districts.         5 Hatcher Remedial Congressional Plan?
 6 That's all. Not trying to trick the Republicans. I          6           We have several people signed up to
 7 -- there's going to be five white districts, and            7 speak on it. Thank you, Dr. Reed. Please stay with
 8 they're all going to be Republicans. Now, how they          8 us unless something else comes up.
 9 come out, I have no fight with anybody, not trying to       9           The Chair now recognizes Richard
10 make one. We're trying to get two majority black           10 Williams from Montgomery.
11 districts. That's all we're trying to get.                 11           MR. WILLIAMS: I want to share with
12            Let me say one other thing about                12 you that I'm a Methodist and I signed up on the wrong
13 Mobile. Mobile got a hundred and some thousand black       13 paper. My expectation was to sign up on the general
14 folks to put Mobile with Baldwin County, and the           14 paper, and I do believe the amount of papers in the
15 first congressional district is ridiculous. Because        15 process maybe because it was paper, and I'm a
16 you done killed every one of those black voters,           16 millennial that I needed a tech to be able to press a
17 because they're not going to win anything, darling,        17 button. But if it would be your pleasure, I would
18 as long as they are in that first congressional            18 really love to give general comments to this, if it
19 district. That's how it voted.                             19 would be allowed.
20            COCHAIRMAN PRINGLE: Senator Figures?            20           COCHAIRMAN PRINGLE: That'll be fine.
21 Yes?                                                       21 Thank you so much.
22            SENATOR FIGURES: Thank you, Mr.                 22           MR. WILLIAMS: My name is Richard
23 Chairman.                                                  23 Williams. I live in Montgomery, Alabama, where I
24            Dr. Reed, with all due respect, and I           24 made the biggest purchase of my life in purchasing a
25 know you have done so much with drawing maps over the      25 home. I also serve as a pastor Metropolitan United

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 1 Methodist Church, but these views are mine. Psalms        1 fund, but also the ones that you represent. We will
 2 37: 27 and 29, "For those who follow the gospel,          2 make it happen.
 3 since turn from evil and do good, then you will dwell     3            In conclusion, I am implore each and
 4 in the land forever. For the Lord loves the just and      4 everyone of you to approach this redistricting
 5 will not forsake his faithful ones. Wrongdoers will       5 process with a commitment to justice and equality,
 6 be completely destroyed. The offspring of the wicked      6 and the wellbeing of Alabama residents. We are
 7 will perish. The righteous will inherit the land and      7 thankful for the plaintiffs that have served and done
 8 dwell in it forever."                                     8 the work. Now, it's your turn to stand up.
 9           Clearly, this is a polarizing issue,            9            COCHAIRMAN PRINGLE: Amen.
10 and I know that many decisions have already been         10            I like to hear you preach on Sunday.
11 made, but I do believe that God still has a way of       11 The Chair now recognizes Tammie Smith from Birmingham
12 waking us up in the morning and allowing us to lie       12 to speak on the Hatcher Remedial Congressional Plan.
13 down in the evening. Thank you for allowing me for       13 Going once, going twice.
14 this opportunity to share with you as we embark on       14            The Chair now recognizes Ron Jackson
15 the importance task of redrawing Alabama's               15 from Birmingham to speak on the -- he spoke? Well --
16 congressional maps. I urge each of you to keep in        16 okay.
17 mind of the fundamental principles that I think you      17            And the last is -- I can't tell if
18 believe, that all young folks and persons of seasons     18 it's Felix Dawn from Montgomery. F-E -- okay. Fine.
19 as yourselves should hold near and dear to your          19            DR. LEE: I just want to thank you
20 hearts, fairness, representation, and inclusivity.       20 very much. And, Mr. Chairman and members of the
21           It is our duty to ensure that all              21 committee, I think all of y'all ought to pay
22 voices are heard and that the diverse population of      22 attention what I'm about to say. All precincts are
23 this great state are adequately represented in all       23 realigned after reapportion -- all of them are
24 that we do. Today, I stand before you as an advocate     24 realigned. There's no such thing as a precinct
25 for inclusion and empowerment for Alabama's black        25 standing in the way of reapportionment. You do it at
                                                  Page 99                                                    Page 101
 1 voters and redistricting process.                      1 the county level, you do it at the city council
 2           We must recognize the historical             2 level. You do it all over the county, and all of our
 3 context that communities of color including African    3 counties must be realigned. And you got to realign
 4 American citizens have faced significant barriers      4 precincts the same way.
 5 over and over again. Now, is the time for us to be     5            Often times, when you realize what was
 6 able to rectify what has already been done. I know     6 in one district last time around going to be in
 7 there are many opinions within this space, and I know  7 another district this time around. The same thing in
 8 there are those that you must go home and have         8 the Legislature. So I want to make the committee
 9 conversation with. That's a political reality that     9 mindful of that fight. Precinct lines don't make the
10 we must all deal with, but I do believe that there is 10 voters. The voters make the precinct. That's very
11 a God that will allow you to wake you to wake up in   11 much - you need to know that. And again, I want to
12 the morning and that will give you the strength to    12 say you get necessary splits.
13 make bold decisions that are not just based on party  13            I want to point out one other thing to
14 lines and not just based on your comfort for an       14 you and that is, if you're to going have majority
15 election.                                             15 black districts, you're going to where black people
16           I do believe that you can create a          16 are. You got to go where the black people are. And
17 congressional map that gives voice to Alabama's black 17 what we did in this plan, we followed some things,
18 voters and a means of insuring that communities are   18 you already set as Legislatures. The State Board of
19 not fractured or even diluted. I do believe that      19 Education district, run from Montgomery, where, to
20 there is way because of these minds that you have,    20 Mobile, District 5. We couldn't count it piece by
21 that have been given to you that there is a real way  21 piece, but we couldn't count it county by county, but
22 that the democracy can exist, where all are able to   22 we followed it tremendously in many, many respects.
23 have voice and representation. And I also believe     23            So that happens and that's what we
24 that because you were elected, and you were given the 24 call communities of interests, tradition -- we follow
25 responsibility to be able to serve not just those who 25 all of that. But the splits we have are necessary

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 1 splits. If you don't want to split it all, you're         1 together. I'm talking about the Legislature. You
 2 not going to get the numbers we have. And I think as      2 put District 5 together, you put Mobile and
 3 far as I can tell, our numbers -- we have some reason     3 Montgomery together.
 4 for chance, a good chance of electing two blacks,         4           COCHAIRMAN PRINGLE: You do remember
 5 Montgomery, Mobile. That's the same quarter that we       5 in 2017 a federal court told us that we split too
 6 use in State Board District Number 5, and we              6 many voting precincts --
 7 compacted some of it.                                     7           DR. REED: Because I ask them not to
 8            I think -- we started really doing             8 do it.
 9 District 5 first in Huntsville. It was just so            9           COCHAIRMAN: You formed that lawsuit
10 compact. We put it right together. I talked to           10 saying we can't split voting precincts along racial
11 people in Lauderdale County. I went up there two         11 lines.
12 weeks ago to conduct some hearings. And the people       12           DR. REED: District 26 --
13 up there don't want Lauderdale County split. You         13           COCHAIRMAN PRINGLE: It wasn't that
14 don't have to split it because nobody want that kind     14 long. The Court told that we couldn't split voting
15 of split -- but fundamentally -- more particular         15 precincts along racial lines. And you won.
16 about the issues on the precinct lines that is very      16           DR. REED: You the Chairman of the
17 crucial. They all have to be redrawn when you            17 Committee, but I'm going to debate you one way or the
18 reapportion, whether you're at the congressional         18 other because you're the Chairman of the Committee --
19 level or whether you're at the council level.            19           COCHAIRMAN PRINGLE: In 2017 --
20            COCHAIRMAN PRINGLE: Thank you,                20           DR. REED: When Jimmy Clark and I sat
21 Mr. Reed. I can assure you in the ten county splits      21 down and put it together, back in 1990, we put blacks
22 you have, I can find people that can disagree about      22 in the district. You can't put blacks in a district
23 having their county split. I like to analyze the 87      23 without putting blacks in a district. You can't put
24 voting precincts. Did you vote -- those 87               24 whites in a district without putting whites in a
25 precincts, did y'all split those along racial lines?     25 district. And anybody tell you -- anybody in this
                                                 Page 103                                                       Page 105
 1 Were y'all looking for African Americans when you         1 committee -- we drew it in a blind.
 2 split those voting precincts and pull them in one         2            Lady Liberty had all of these --
 3 district to the other?                                    3 blindfolds on her head. It was done. That was not
 4            DR. REED: I keep saying, we looking            4 done. It's never been done. You never done it here.
 5 for people --                                             5 Since 1975, I've been drawing reapportion plans and
 6            CHAIRMAN PRINGLE: Were you looking             6 never been done. The drafter who drafts the plan,
 7 for African American --                                   7 has something in mind. And finally --
 8            DR. REED: -- no, no. I'm not going             8            COCHAIRMAN PRINGLE: This is his plan.
 9 to say that. If anybody tell you draw two black           9 I'm going to yield to him. I have a lot of respect
10 districts and that you weren't looking for blacks,       10 for him.
11 they lying to you. Anybody else is lying who said        11            DR. REED: When the Supreme Court says
12 they weren't looking for them. Just like your            12 go back and draw some districts, what do they mean?
13 district, the one you're in now. In all due respect,     13 They are going to find some black folks to put in
14 you look for people help you get elected when you --     14 these districts. That's what that meant.
15 everybody in here wanted districts to help them. And     15            COCHAIRMAN PRINGLE: Let me ask this,
16 I'm not going to sit here and tell you and I'm not       16 one more question. You did pair more members of
17 going to even tell the Court that we didn't look for     17 congress together? You put congressman from the
18 blacks to get black folks in the district. We surely     18 first and second in the same district?
19 did.                                                     19            DR. REED: If so, we didn't know that.
20            COCHAIRMAN PRINGLE: You drew on               20 We missed where they were located.
21 racial lines then?                                       21            COCHAIRMAN PRINGLE: All right. Thank
22            DR. REED: Not on the racial lines,            22 you so much. Do we have any more questions on this
23 because that would have been 100 percent black, but      23 plan at all? Okay.
24 the bottom line is, we did look for communities of       24            I'm trying to be fair and give
25 interests, the same thing when you put District 5        25 everybody time to --

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 1           Now, we'll put up CLC Map 1.                       1            UNIDENTIFIED SPEAKER: Repeat your
 2           The Chair now calls Deuel Ross from                2 percentages.
 3 DC.                                                          3            (Inaudible.)
 4           Senator Singleton?                                 4            COCHAIRMAN PRINGLE: That is true,
 5           SENATOR SINGLETON: I'll be very                    5 Dr. Reed. You do not have to reside in your
 6 brief. I won't hardly take the three minutes because         6 congressional district to be elected in it. 180 days
 7 we'll put it in the record. The CLC map basically            7 after your election, you must establish a residency
 8 draws two districts. One, keeping Jefferson County           8 in that district. But to get elected in it, you do
 9 whole, and we're keeping community interest of the           9 not have to reside in it. You are absolutely
10 Black Belt whole. And when you look at -- we have           10 correct. And you can move into the district one day,
11 split there in Tuscaloosa, that splits Tuscaloosa,          11 and you are a resident of that congressional district
12 and you get a small split down in Elmore County.            12 and have the legal right to run.
13           This is a -- District 6 with                      13            REPRESENTATIVE ALMOND: We don't have
14 56.3 percent of African-Americans. And District 7 is        14 a copy of the letter that was referenced, I don't
15 59.13 percent. I'm sorry. 59.19 percent                     15 believe, do we --
16 African-American and the other one -- in Democrats.         16            COCHAIRMAN PRINGLE: I'm listening.
17 And the other one is 56 percent democratic leaning.         17 Yes, ma'am.
18 And we have a black population that shows District 7,       18            REPRESENTATIVE ALMOND: The letter
19 a majority black population, another majority black         19 that Mr. Milligan referenced, we don't have a copy of
20 population in the District 6 is going to be right at        20 that, do we?
21 49.83 percent.                                              21            SENATOR SINGLETON: It came last week
22           COCHAIRMAN PRINGLE: Do any members of             22 some time.
23 the committee have a question? Anybody from the             23            COCHAIRMAN PRINGLE: Yeah. I believe
24 audience have a question?                                   24 this is the letter that the -- yes. I believe this
25           Yes, ma'am. Please come forward and               25 is the letter here. It should be on your maps. "On
                                                    Page 107                                                      Page 109
 1 state your name in the microphone. Some people that          1 behalf of the Plaintiffs Milligan, et al, Allen, we
 2 are watching online.                                         2 write to provide additional information related to
 3           MS. JACKSON: Yes. Latetia Daniels                  3 the VRA Plaintiffs' remedial plan" -- I'm trying to
 4 Jackson, on of the Milligan plaintiffs. I was just           4 scan through all this legal fees. I'm sorry.
 5 wanting to know why did you have CLC Milligan on this        5           "Counsel for the Singleton plaintiffs
 6 map because it's not a Milligan map.                         6 spoke out against the VRA Plaintiffs' remedial plan
 7           SENATOR SINGLETON: It's not a                      7 and offered a plan found in an amicus brief that the
 8 Milligan map. No, it's not.                                  8 Campaign Legal Center filed in support of the VRA
 9           MS. JACKSON: So that's an error?                   9 Plaintiffs in the Supreme Court. According to him,
10           SENATOR SINGLETON: That's an error.               10 the CLC Plan is a viable remedy for the VRA violation
11           MS. JACKSON: Okay. Thank you for the              11 because it has two "crossover" districts in which
12 record.                                                     12 Black voters do not form the majority but can elect
13           COCHAIRMAN PRINGLE: Anybody else?                 13 preferred candidates."
14               (Inaudible.)                                  14           Y'all have to understand we're
15           MR. MILLIGAN: Campaign Legal Center.              15 swimming in a sea of papers up here. I mean, it's
16 Evan Milligan, Montgomery, Alabama. I also wanted to        16 flying. As an additional matter, CLC has not
17 note that Campaign Legal Center wrote a letter, I           17 proposed -- I'm looking at it. Deuel, it's you. And
18 believe, stating that they no longer support this           18 Davin Rosborough. Okay. And that's where you are
19 matter.                                                     19 saying you do not support this plan, correct?
20           SENATOR SINGLETON: We're fine with                20           Okay. That's -- ladies and gentlemen,
21 that. Again, we are utilizing this map and the              21 that plan is the July 11th, 2023, letter. It should
22 Campaign Legal Center gave us the right to utilize          22 be in your packet somewhere.
23 this map. We also have a letter rebutting some of           23           Yes, sir. Mr. Milligan?
24 that statement he just made from Campaign Legal             24           MR. MILLIGAN: Yes, sir. The Campaign
25 Center.                                                     25 Legal Center drafted a letter for the Legislature

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 1 committee on reapportionment. It was dated June 30th       1 would be made part of our public hearing today and
 2 of this year. I'll just read the first two                 2 the record thereof. So if that's the case, I will
 3 paragraphs. "Dear Reapportionment Committee Members,       3 request that -- I'll give it back to you with my name
 4 Campaign Legal Center is a nonparty or CLC is a            4 on it, where as you see fit.
 5 nonparty nonprofit organization committed to advance       5            My name is Roger Smitherman. I
 6 democracy through law. We write this letter to             6 represent District 18. I can't set -- for accuracy
 7 provide context for the committee's consideration and      7 about how long my colleagues have been on
 8 crafting a remedial plan to correct the existing           8 reapportionment, but I came into Alabama Legislature
 9 congressional plan violation of Section 2 of the           9 in 1994. And I've been on the reapportionment
10 Voting Rights Act.                                        10 committee everyday of my life, ever since I've been
11           A map derived from a brief written by           11 on the Legislature. I think -- I said that for a
12 CLC has been proposed by some as a potential remedial     12 simple reason. I don't say that -- expert and
13 plan, but the committee must understand the context       13 everything. There ain't many people sitting in here
14 in which that plan arose. Additionally, we wish to        14 that I have more knowledge over 29 years, than I do.
15 dispute the claim the VRA Plaintiffs' map may be          15 So I want to say that first.
16 unconstitutional." The letter is five pages long. I       16            Secondly, I want to say by profession,
17 believe they submitted it to you, but I can text this     17 I'm an attorney. Been one before I even came into
18 to Ms. Overton.                                           18 the Legislature.
19           REPRESENTATIVE ALMOND: We do have               19            I will share some information with you
20 that, yes. I didn't realize it.                           20 in part -- the letter that's part of our packets, but
21           COCHAIRMAN PRINGLE: Okay. I think I             21 for the people who do not have a packet like ours or
22 have my plan mislabeled. Senator Smitherman, I think      22 may not have this letter. I'm going to share this
23 we're ready to move on to your plan, but I have it        23 information and put it into the record. We're
24 listed as Singleton Congressional Plan 3. That's          24 talking about the Singleton Plan Number 3 -- and by
25 going to be Senator Smitherman's plan.                    25 the way this last leg, I would say regarding this.
                                                  Page 111                                                    Page 113
 1            SENATOR SMITHERMAN: Yes, sir. That's 1 If you look on the list of the Plaintiffs in the
 2 the one I'm offering.                                  2 Singleton case, you'll see Senator Singleton name,
 3            SENATOR FIGURES: Mr. Chairman?              3 Number 1. And you'll see my name Number 2. I'm the
 4            COCHAIRMAN PRINGLE: Yes, ma'am,             4 main plaintiff on -- to try to get adequate
 5 Senator Figures?                                       5 representation in the state of Alabama for
 6            SENATOR FIGURES: Let it be noted that       6 minorities.
 7 I can add much information to the VRA plan, but I      7           "Counsel suggest that we have no role
 8 think the Plaintiffs did a wonderful job in            8 to play in proceedings to remedy the Voting Rights
 9 explaining it. So in the interest of time, I won't     9 Act violation affirmed by the Supreme Court, because
10 read out mine.                                        10 the District Court deferred ruling on the Singleton
11            COCHAIRMAN PRINGLE: We're going to 11 Plaintiffs' claim that the 2021 enacted Congressional
12 put all that in the record. All the letters and the   12 plan is an unconstitutional racial gerrymander. That
13 correspondence back and forth will be a part of the   13 is incorrect. As the Alabama Attorney General keeps
14 plan.                                                 14 reminding us, trial on the merits is still pending,
15            SENATOR SMITHERMAN: Are you ready? 15 and it may be necessary to decide the Singleton claim
16            COCHAIRMAN PRINGLE: I'm ready.             16 in order to enter final judgment. Singleton remains
17            SENATOR SMITHERMAN: Oh, okay. I was 17 consolidated with Milligan and Caster." " Singleton
18 waiting on you to give me the green light. Thank you 18 remains consolidated with Milligan and Caster."
19 very much.                                            19           And I state that twice because it has
20            As you can see on the map that is          20 been stated it does not involve where we are now.
21 Singleton Plan 3. I want to share some preliminary    21 The courts put them together.
22 information prior to going into it. Mr. Chairman,     22           "And Paragraph 5 of the District
23 the information is going to be in part that's part of 23 Court's order entered June 20, 2023, says 'any set of
24 the packet. In our packet that we received today as   24 Plaintiffs' may object to the remedial plan enacted
25 it relates to that plan. I was going to ask that it   25 by the Legislature."

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 1            Any set of Plaintiffs -- and right              1 incorrect. We have provided you and the Milligan and
 2 now. "The question before the Legislature is whether       2 Caster Plaintiffs spreadsheets showing that, based on
 3 a remedial plan that splits Jefferson County and           3 statewide elections going back to 2012, CLC Districts
 4 Mobile County along racial lines complies with both        4 6 and 7 consistently elect candidates favored by
 5 the Voting Rights Act and the Constitution."               5 Black voters. Enclosed with this letter is a summary
 6            Now, let me say this: As we people              6 of those results.
 7 talk about the qualifications up here. I just              7            But legal issues aside, there are
 8 haven't' had the opportunity to teach constitutional       8 reasons why the CLC plan, which is a modification of
 9 law to seniors in law school for 25 straight years.        9 Singleton 3, is good for all Alabama citizens. The
10 I'm not saying anybody know -- I don't know it better     10 two most important communities of interest in this
11 than anybody in here, there ain't nobody in here that     11 state are the Black Belt and Jefferson County. CLC
12 knows the Constitution better than I do. I know as        12 plan Number 1 places all of the majority-Black Black
13 good as you do. I'm not saying I know it better than      13 Belt counties except Barbour County, in one
14 you. I'm guaranteeing you don't know it better than       14 district."
15 I do.                                                     15            The significance of that is simply
16            "The District Court's opinion says:            16 this: I heard somebody get up here, and I'm not
17 The Legislature retains 'flexibility' in their work,      17 going to single them out to have them come back and
18 subject to the rule that a 'district drawn in order       18 explain it. But I sat right here and heard them talk
19 to satisfy § 2 must not subordinate traditional           19 about how the assets of the funds come into a certain
20 districting principles to race substantially more         20 area. But yet, that area does not have a an
21 than is reasonably necessary to avoid § 2 liability.'     21 opportunity to take advantage of it. And that's
22            At the hearing on June 27, I told the          22 true.
23 Reapportionment Committee that the Singleton              23            So many times in these split districts
24 plaintiffs support plans that do not split Jefferson      24 that there are organizations or entities that put all
25 County, specifically, Singleton plan no. 3 and the        25 these black voters in for the number, but yet that
                                                  Page 115                                                    Page 117
 1 Campaign Legal Center (CLC) plan no. 1. They show          1 money never get over there because it stays in that
 2 that it is not necessary to draw districts along           2 particular area. This gives the Black Belt a chance
 3 racial lines in order to provide two "opportunity"         3 to bring all their resources straight into the Black
 4 districts, i.e., districts in which Black voters have      4 Belt. And I said that with a lot of strength and
 5 a realistic opportunity to elect candidates of their       5 vigor and vitality. And I don't represent the Black
 6 choice."                                                   6 Belt. I care about everybody in this state, but I
 7             And let me share this: Is that -- the          7 definitely care about those resources being
 8 district that I represent from '94 to now, and I           8 concentrated in that complete area of the Black Belt.
 9 stand to be corrected by our reapportionment               9 So that they can enjoy the economic fruits that we've
10 committee, but the voting population is only, to my       10 enjoyed in so many other areas in our state.
11 knowledge, has been more African-American. Also, I        11           And it keeps Jefferson County whole.
12 want to share with everybody in here, and I stand         12 Jefferson County has developed more biracial
13 corrected by the experts, that's our reapportionment      13 electoral correlations in any other Alabama county.
14 office had something like maybe 45 or 46 percent          14 This is a trend that should be celebrated and
15 African-American vote, yet I think at our last two        15 encouraged. Most people don't know this: Jefferson
16 elections we elected nine African-American females to     16 County is the -- prod example of this state. We --
17 serve in district judgeships.                             17 close to the majority of the Latino community, of the
18             That's what we were talking about,            18 Jewish community, of the Greek community. We have
19 democratic votes. That's what we were talking about       19 the majority of most of our communities who pull
20 opportunity districts.                                    20 together, who pull together, not on racial lines.
21             "Counsel for the Milligan and Caster          21 Pulled together on issue lines. And the same thing
22 Plaintiffs contend that "the CLC Plan is not a viable     22 with candidates.
23 remedy for the VRA violation because it does not          23           "Moreover, CLC plan no. 1 preserves
24 provide Black voters with a sufficient opportunity to     24 the Gulf Coast community of interest." I just heard
25 elect their preferred candidates." That is                25 about what was going to happen in the Gulf Coast

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 1 interest and being split. This map preserves that          1 African-American. And I think that you would find
 2 entrance.                                                  2 that there is a serious lacking in just about every
 3            "We urge the Legislature to adopt a             3 where in this state, but in Jefferson County in that
 4 plan that keeps Jefferson County whole." Jefferson         4 area of the state. The figures don't lie. They
 5 County you heard people get up here and say that           5 speak for themselves.
 6 we've been used as a pawn to satisfy all other             6            In closing, Mr. Chairman, I want to
 7 districts. With the sacrifice and the risk to the          7 say that I fully support the Plan Number 3, and I
 8 county itself because we don't have a one voice and        8 also support the Senator Singleton's CL -- CLC Plan.
 9 one interests as it relates to this county. The            9 And I support any plan that's going to provide us the
10 population will sustain a congressional district.         10 opportunity to have representation in Washington.
11 It's the largest county in the state of Alabama.          11 And I also support any plan that's going to keep
12            "The following table shows the results         12 Jefferson County whole. We're tired of being the
13 of previous statewide races in Congressional              13 split -- the surplus of everybody else around the
14 Districts 6 and 7 of the proposed Singleton 3 Plan        14 state when we have -- particular in that area, 1.2
15 and CLC 1 Plan. For each race -- "                        15 million people in our Metropolitan area.
16            In the 2012 presidential race with             16            Just as it was said up here earlier,
17 President Obama and the candidate, I think, it was --     17 we are definitely economic engine of the state. If
18 Romney -- the democratic voting percentages was 53.2      18 you look at gasoline taxes, we provide 25 percent or
19 in District 6 as it stands. And 55.7 in District 7.       19 more of the taxes for the whole state -- highways.
20 In 2014, Governor's race was Governor Bentley.            20 We do in that one county. And as much, we have
21 District 6 as it stands up there voted 50.3 Democrat.     21 unique issues, and we need to have our county held
22 And the District 7 voted 53.5 Democrat.                   22 together and not our issues five or six different
23            In the 2014 Lieutenant Governor's              23 districts that don't have an interest whatsoever --
24 Race -- in 2014 Auditor's race, you had Joseph and        24 as well.
25 Ziegler, and it voted 50.5 in 6 and 53.6 in               25            Also the fact that this map has zero
                                                  Page 119                                                       Page 121
 1 Democratic in 7. The presidential race in 2016 with        1 -- I want everybody to hear that. Zero deviation.
 2 President Clinton and President Trump -- not               2 You can't get a better deviation on any map that's
 3 President Clinton but Hilary Clinton and Trump.            3 out there. No one person, not 1.29, not 2.8, but
 4 District 6 voted Democratically, 53.6. And district        4 zero deviation. And it keeps 99 -- I say 97 percent
 5 53.9.                                                      5 of our counties whole, and that's part of the
 6           In the senate race with Crumpton as a            6 constitution of interest -- myself being lead
 7 Democratic and Shelby as a Republican. The                 7 Plaintiff that case to the Supreme Court. Because
 8 democratic in favor voted in that race was 52              8 the Constitution must take into consideration that
 9 percent, and 62.5 in 7. In the Senate race with            9 you have to do everything that's possible to keep
10 Jones and Moore. In District 6 as it's comprised on       10 your counties whole.
11 that map. It voted Democratic 68.8 percent in the         11            So I thank you, Mr. Chairman for
12 District 6 and voted Democratic 65.4 percent in           12 allowing me that opportunity. And at the proper
13 District 7.                                               13 time, I'd like to offer that information to be a part
14           In the Governor's race, with Maddox as          14 of the permanent record.
15 a Democratic and Governor Ivey as a Republican,           15            COCHAIRMAN PRINGLE: If you would sign
16 District 6 voted 58.7 percent Democrat, District 7        16 that and give it to me, I'll put it in the permanent
17 voted 56 percent Democrat.                                17 record.
18           In the Lieutenant race with Boyd as a           18            Let me just read this email that came
19 Democrat and Ainsworth as a Republican --                 19 in. "As a livelong citizen of Florence Alabama, I
20       (Zoom cut out/technical difficulties.)              20 would like the new map to keep Lauderdale County
21           I'm not here to criticize any other             21 whole in the same district. The current map splits
22 areas. But I will say this: You look past the votes       22 Lauderdale County into 2 different districts and it
23 that are African-American votes, and you look at the      23 led to confusion for St Florian voters. Sincerly,
24 percentage of people who are willing to vote              24 River Alyxander Zurinsky."
25 independently and openly, who are not                     25            Now, the Chair recognizes Senator

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 1 Figures for some comments and then we're going go to         1 predominant factor in a way that would be
 2 Representative Jones.                                        2 constitutionally unacceptable.
 3            SENATOR FIGURES: Thank you,                       3            The courts also found the VRA
 4 Mr. Chairman. As sponsor of the VRA Plaintiffs'              4 Plaintiffs plans were reasonably configured, as they
 5 remedial plan, I would like to spread on the record          5 were similar to or better than the legislature's plan
 6 the following: "The Remedial Plan offered by the VRA         6 in complying with traditional districting principles.
 7 Plaintiffs in the Milligan and Caster litigation has         7 The VRA Plaintiffs' plan has the strongest defense
 8 three key features.                                          8 against any argument that the plan either uses race
 9            Number one: The VRA Plaintiffs'                   9 in an unconstitutional manner or doesn't comply with
10 remedial plan creates two majority-Black districts          10 the VRA. This cannot be said of any other plan that
11 that will remedy the Voting Rights Act violation by         11 has been introduced.
12 ensuring that Black voters can consistently elect           12            Number three: As much as possible,
13 candidates of choice in those districts and fixing          13 Plaintiffs' plan makes minimal or no changes to other
14 the cracking of the Black Belt.                             14 districts in the 2021 plan enacted by the
15            One district, Congressional District             15 legislature. It maintains CD 4 and CD 5, exactly as
16 7, is very similar to existing Congressional District       16 the Legislature drew them in 2021. Those two
17 7, CD7 is currently Alabama's sole majority-Black           17 districts stretch across the north of the state,
18 district. CD7 has existed in this form since a prior        18 north and south of the Tennessee River. It makes as
19 round of Voting Rights Act litigation in the 1990s.         19 minimal change as possible to CD 6 and CD 3 in the
20 CD7 keeps Birmingham together with the western Black        20 center and east side of the state.
21 Belt counties, including Dallas County.                     21            Some changes were necessary there to
22            The second remedial district,                    22 allow for the remedial districts to be created, but
23 Congressional District 2, unites the remainder of the       23 the changes are minimal. Those changes include
24 Black Belt counties and connects them to the city of        24 adding Autauga County to CD6 and adding Elmore County
25 Mobile. In the 2021 plan, those Black Belt counties         25 to CD3, and removing Russell and Macon Counties from
                                                    Page 123                                                     Page 125
 1 are split among multiple congressional districts,            1 CD3. Only CD 1 and CD 2 are significantly
 2 weakening the voice of the Alabamians who live there         2 reconfigured to allow for the creation of a second
 3 and diluting their votes.                                    3 majority-Black district as required by the Supreme
 4            The VRA Plaintiffs' plan puts that                4 Court.
 5 community back together. CD2 includes all of                 5           Demographics and performance: The
 6 Montgomery County, which has been split among two or         6 three-judge court instructed that 'As the Legislature
 7 even three districts in recent decades. The VRA              7 considers [remedial] plans, it should be mindful of
 8 Plaintiffs' plan unites all of the 18 traditional            8 the practical reality, based on the ample evidence of
 9 Black Belt counties are in the two majority Black            9 intensely racially polarized voting adduced during
10 districts in the Plaintiffs' plan, and doesn't split        10 the preliminary injunction proceedings, that any
11 any of those counties Those counties are Barbour,           11 remedial plan will need to include two districts in
12 Bullock, Butler, Choctaw, Crenshaw, Dallas, Greene,         12 which Black voters either comprise a voting-age
13 Hale, Lowndes, Macon, Marengo, Montgomery, Perry,           13 majority or something quite close to it.'
14 Pickens, Pike, Russell, Sumter, and Wilcox.                 14           Milligan v. Merrill, 582 F. Supp. 3d,
15            Number two: The VRA Plaintiffs plan              15 the VRA Plaintiffs' plan complies with the Court's
16 is not vulnerable to a constitutional challenge. The        16 instructions CD2 is: 51 percent Black Citizen Voting
17 VRA Plaintiffs' plan is very similar to the plans           17 Age Population. CD2 would also have an about 5
18 approved by the three-judge District Court and the          18 percent other minority population. And a 44 percent
19 U.S. Supreme Court as constitutionally acceptable           19 white citizen voting age population. 52% of the
20 remedies for the Voting Rights Act violation. The           20 registered voters are Black according to the
21 VRA Plaintiffs' plan is the only plan which has             21 Secretary of State's voter registration records.
22 already been evaluated in a similar form by both            22           CD7 is 56 percent Black Citizen Voting
23 District Court and the Supreme Court. Both of those         23 Age Population. 58 percent of the registered voters
24 courts and found the VRA Plaintiffs plans in the            24 are Black. The two majority Black districts will
25 litigation were not drawn using race as the                 25 give Black voters in those districts the ability to

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 1 elect their candidates of choice. In statewide        1            Because where we are at this point, we
 2 elections from 2014 through 2020 that the VRA         2 have actually seen Plaintiff maps, three other maps,
 3 Plaintiffs' expert witnesses in the litigation        3 and we've heard the arguments, which I think are very
 4 analyzed Black candidates carried these districts,    4 good arguments. Some argued for not splitting
 5 even though they lost at the statewide level          5 counties, some argued for precincts, some argued for
 6 background.                                           6 different things, all headed to one remedy. The
 7             In November 2021, two groups of           7 thing that concerns me, though, is rather than we're
 8 plaintiffs, the Milligan Plaintiffs and the Caster    8 going to get something that's completely different
 9 Plaintiffs, sued to stop the implementation of the    9 from everything we've seen here. That's what really
10 congressional map the legislature passed and the     10 -- it should concern all of us, who is sitting on
11 governor signed. The lawsuits claimed that the       11 this committee because we've been here two meetings,
12 legislature's map violated Section 2 of the Voting   12 we've had a lot of information presented. I don't
13 Rights Act by failing to create a second             13 know how much information we can get presented now
14 majority-Black district. Two courts, the Supreme     14 and Monday.
15 Court and the federal court in the Northern District 15            So, Mr. Chairman and Cochair, if you
16 of Alabama have now agreed with the Plaintiffs. They 16 would, please address for us the process of being
17 found that the map passed by the legislature in      17 thoroughly informed on the other maps that's going to
18 November 2021 dilutes the votes of Black Alabamians, 18 come before us. And the committee map also.
19 violating Section 2.                                 19            COCHAIRMAN PRINGLE: Thank you,
20             The legislature has been given the       20 Mr. Jones. Again, I like to remind everybody that we
21 first opportunity to correct that historic wrong     21 have been pretty much overwhelmed with maps coming
22 itself, if either: One, the legislature fails to act 22 in. Today, we have finally adopted a set of
23 or two, the map the legislature adopts does not      23 guidelines that the committee can use to draw maps.
24 completely remedy the violation of the Voting Rights 24 We're going take those guidelines and we're going to
25 Act. The federal court will take over the process    25 take the input we got today. We're going to take the
                                                 Page 127                                                   Page 129
 1 and impose a map of its own. The legislature will         1 input that's come in through the Internet. I like --
 2 lose control of the map-drawing process. The              2            We just discussed this: We're going
 3 separate Singleton Plaintiffs and their lawsuit has       3 to have a meeting 10:00 a.m. to look at a map. We've
 4 not been successful."                                     4 been looking at all these maps and analyzed, want to
 5           Thank you, Mr. Chairman.                        5 hear what people had to say, what members of the
 6           COCHAIRMAN PRINGLE: Thank you,                  6 committee, so.
 7 Senator. If you'll give those to me, I'll make sure       7            Expect us to have something on Monday
 8 they are entered into the record of the committee.        8 morning. We'll get it to you as soon as we can. But
 9           The Chair now recognize a gentleman,            9 Monday we will have a meeting.
10 Mr. Jones from Mobile.                                   10            REPRESENTATIVE HALL: Does that mean
11           REPRESENTATIVE JONES: Thank you,               11 that when you say, we don't have a map, does that
12 Mr. Chairman. We've actually had presentation on         12 mean we, not y'all, we as a collective body will have
13 four different maps today, and I believe that they       13 a map?
14 all were toured remedy of the Court's ruling. There      14            COCHAIRMAN PRINGLE: There will be a
15 have been different approaches to different things,      15 map for this committee to vote on. Yes.
16 different goals. And I think that's fine. I really       16            REPRESENTATIVE HALL: And so will we
17 appreciate all the information we've gotten today.       17 at that -- before the map is provided -- when is that
18           The one thing that concerns me though,         18 opportunity for those of us that are sitting around
19 there are some maps that we have nothing on. We          19 as members of the committee having an opportunity to
20 don't know what's being proposed. And we go into         20 participate to get something --
21 session on Monday, I'm very concerned about that.        21            COCHAIRMAN PRINGLE: As soon as I get
22 While we talked about all the facts that we have and     22 something, I'm going to send it to you. I want to
23 the data that's been submitted. There is data that       23 get something out, but it's just hard trying to
24 has not been submitted. And I would really hope that     24 justify to put a map out before we finished taking
25 we could get that data before we get to the floor.       25 input from the public.

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 1           REPRESENTATIVE HALL: My question is, 1 opportunity through the continuing of the process to
 2 I think the point has been made several times here.    2 get the documents ready to be presented going to be
 3 Is that we want to be collectively be a part of        3 involved, whether it be by Zoom, whether -- I don't
 4 whatever that process is, and when -- tomorrow is      4 know -- whether it's Zoom, whether -- whether or -- I
 5 Friday, and we're scheduled to be here on Monday. So 5 think that -- I'm suggesting the work that's why
 6 when you're talking about putting a map together, you  6 y'all get paid the big bucks as chairmen, but you all
 7 all as Chair we'll put the map together, or we as a    7 got to sit down and come together on how you all are
 8 committee will have input in that process. What does   8 going to pull that off because that has to be done
 9 that look like? I understand the being overwhelmed,    9 because this is the committee.
10 but we also know that we had this deadline.           10            COCHAIRMAN PRINGLE: I understand.
11           COCHAIRMAN PRINGLE: In this very            11 Agree with you totally. We've spent so much time
12 compress time frame that we've been working under,    12 analyzing these maps before us and trying the analyze
13 less than 21 days, we've been doing everything that   13 the other maps that have been sent in. To pull
14 we can. We're going to release a map on what we've    14 together the information, look at them, and analyze
15 gathered here today, the input from everybody. We     15 them see what's good and what's bad about them. As
16 will send it to members of the committee as soon as   16 soon as we have something, we're going to release
17 possible as soon as we get our analyzes of the maps   17 them to you. I'm not trying keep anything hidden.
18 and the numbers together, and then Monday at          18 I'm just trying to get something to you as fast
19 10:00 o'clock, we'll get here to vote. And everyone   19 possible.
20 will have an input to vote.                           20            SENATOR SMITHERMAN: I don't think you
21           REPRESENTATIVE HALL: Mr. Chair?             21 are. I'm going to repeat what you just said. You
22           COCHAIRMAN PRINGLE: Yes. Let me get 22 said we're going --
23 -- Mr. Smitherman?                                    23            COCHAIRMAN PRINGLE: The attorney --
24           MR. SMITHERMAN: Thank you,                  24                (Cross-talk.)
25 Mr. Chairman. I'm want to kind of get a -- a clear    25            SENATOR SMITHERMAN: Even if -- I'm
                                                 Page 131                                                      Page 133
 1 picture, you know -- put the picture on their walls,      1 skipping what I'm saying and picking up what you just
 2 but I want to give a clear picture. Everything that       2 said, even if the attorneys do what you saying they
 3 has been presented here today, has been presented in      3 going to do, those are our attorneys. They ain't no
 4 the courts, but also by individuals, whether it be        4 parties' attorney. They're the committee's attorney.
 5 Legislatures, whether it be citizens.                     5 As that attorney go through that work, I think I'm
 6            This map that we're talking about              6 hearing -- the input, what he filed and everything
 7 having from the committee should be done by -- how        7 else. We don't want to wait until Monday, 10:00
 8 many people we got in here? 21? All 21 of us,             8 o'clock. If anybody is privy to add information, I'm
 9 because there is no more individuals drafting a map       9 saying all of us should be privy at request, at
10 and presentations. Usually, if you can follow where      10 least.
11 I'm headed. Even the preparation what is going to be     11            Now, can somebody respond to that for
12 sent to us, we ought to be involved in it. Because       12 me?
13 it's not individuals anymore. It's not like the map      13            COCHAIRMAN PRINGLE: Again, as soon as
14 I put up there that we're going to get it before         14 I can get something to you, I'm going to get it to
15 everybody, give everybody a chance to see it, and        15 you as far as possible. I'm working under a horrible
16 then everybody can think on it and vote on it.           16 time crunch here, and it's --
17            The body of committee as one has all          17            SENATOR SMITHERMAN: Let me help you
18 these branches up here. And these branches have to       18 out --
19 be connected in the work to present what the body is     19            COCHAIRMAN PRINGLE: And just adopt
20 going present, whether we present to our own selves,     20 your plan?
21 them, or are other colleagues. So I'm kind of            21            SENATOR SMITHERMAN: I understand what
22 following up what Representative Jones saying, but       22 you're saying -- ain't nobody trying to pressure you
23 I'm going more in depth.                                 23 or push you, I'm saying -- when that drip hit, I want
24            When will we, because I don't want to         24 the drip. That's all I'm saying. I don't want you
25 seem like I'm self-centered my own self, have an         25 to wake and the bucket fill up on Monday, here is a

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 1 bucket of water -- we're looking at this, saying we        1 obligated to vote against it because I don't have --
 2 got to move this. I want to know anything about            2 there's nothing to share with my constituents.
 3 moving, I don't know where to move the --                  3 There's nothing to know if it's compliant. One of
 4            COCHAIRMAN PRINGLE: That's the reason           4 the rules -- one of the rules or one of the
 5 I want to get something to you so that you can have        5 guidelines or amendments that we proposed required
 6 input on it.                                               6 some analysis of it. But when are we going to do
 7            Representative England?                         7 that if the tamp is the first day of session?
 8            REPRESENTATIVE ENGLAND: Thank you for           8            So when are we going to get any
 9 the recognition. Just being completely honest, this        9 independent analysis to see if it remotely satisfies
10 is a really tortured process. And like, when I heard      10 the Voting Rights Acts? Or if any percentages of the
11 you speaking about we're going to -- after the public     11 splits or whatever you come up with is compliant? So
12 hearing is over, after the open meeting requirements      12 again, it's just the general observation about the
13 are met, then we're going to go back in a room by         13 process, and what it's producing, but the way that
14 ourselves, draw a map, and then give it to you. And       14 this is going to end up is going to shut everybody
15 by the time we -- whatever meeting we're having at        15 out but the Republicans and the Legislatures and
16 10:00 o'clock, you're going to hand us a map and say      16 that's what going to eventually end up with a map
17 vote on it. And unfortunately, by 10:00 o'clock, the      17 that only the majority approved because everybody
18 only maps -- I'm just going to speak frankly here.        18 wasn't involved in the process. That's all I got.
19 This process is to be open and transparent when the       19            COCHAIRMAN PRINGLE: I like to point
20 map that we're all going voting on, wasn't done           20 out, the reapportionment process is a bill. Every
21 transparently in the open.                                21 member of the Legislature has a right to introduce a
22            And again, what I'm frustrated about           22 bill. Every member of this committee can go to LSA
23 is, you said it before. I'm not trying to say             23 and produce a map and introduce as their own bill.
24 anything about -- it's just the process. From the         24 It's nothing that would preclude you from introducing
25 very beginning, it's been an us versus y'all sort of      25 a competing bill in the process, and it can come on
                                                  Page 135                                                    Page 137
 1 thing. Because everybody else has been presenting      1 the floor for a vote. I'm not denying you that
 2 the maps that they believe best represents the State   2 right.
 3 of Alabama, give everybody a change represented, but   3            So if you have a bill you would like
 4 the super majority has not. And ultimately -- I went   4 to produce, senators or whoever who wants to sponsor
 5 to school, and I majored in political science because  5 bill, is more than welcome to sponsor a competing
 6 I don't do math. But in simple mathematics to know     6 bill.
 7 that there are a lot more Republicans than Democrats   7            REPRESENTATIVE ENGLAND: Just for a
 8 in the Legislator, and ultimately, your will be done.  8 point, though, the map that's coming is reported to
 9            If -- and you also mentioned something      9 come from the committee, so I, and I know several
10 about the rules, the guidelines, that's going to be   10 others, we're not likely to be involved in the
11 guided principle on what you do so you didn't know    11 process that produces the map that comes from the
12 what the guidelines are going to look at before you   12 actual committee. So sure we're all free to
13 designed or drew these new maps. But we're using the 13 introduce maps, but the ones you're going to see from
14 same guidelines from 2021, and there was no illusions 14 y'all, are the ones who have invented by the entire
15 -- when I came into this and anybody came into this   15 public, had an opportunity to look at and actually
16 room, we're going to amend those today. So it's very  16 engage us on.
17 disingenuous to me to suggest that those rules and us 17            No body is going to have an
18 adopting those rules prevented you from producing a   18 opportunity to engage us on the map that's going to
19 map when everybody across the world in New Zealand, 19 be produced when the actual session started. We
20 Australia, and everywhere was able to produce a map 20 don't do even do regular legislation in the regular
21 for us to at least get a look at.                     21 session that way, especially, with something as much
22            Again, I just want to go on record         22 jeopardy as attached as a new congressional map.
23 that this process, while giving the appearance of     23            COCHAIRMAN: The 22 members of this
24 being open and transparent is everything but. When    24 committee will be the first people who receive the
25 we vote on this map on Tuesday, I'm going to be       25 map, and you will get it as fast as I can possibly

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 1 humanly get it to you.                                      1 and 551 will pull it out -- in deviation --
 2            REPRESENTATIVE ENGLAND: But the point            2            SENATOR BELL: I was, like, whoa, my
 3 I'm trying to make is, no one else in the state of          3 crayon went over the line.
 4 Alabama is going to be able to come here and address        4            COCHAIRMAN PRINGLE: Now, the Chair
 5 the committee about that matter before we vote on it        5 now recognizes Dorman Walker for closing statements.
 6 and that's just unfortunate.                                6            MR. WALKER: Thank you, Chairman
 7            COCHAIRMAN PRINGLE: The public                   7 Pringle and Chairman Livingston and members of the
 8 hearing is -- Representative Almond?                        8 committee -- I'm sorry. Can you hear me now?
 9            REPRESENTATIVE ALMOND: Sorry. I have             9            Okay. I don't really have a closing
10 a totally different question, and I'm sure I'm not         10 statement. I do have some exhibits that I wanted to
11 reading this correctly. But when I look at the --          11 and was asked to put into the record. I got Exhibits
12 what's title CLC Map 1 and Singleton Congressional         12 A through S here. It'll take me a few minutes to go
13 Plan 3, and I look at Jefferson County 6, and I see        13 through each one is, or at your pleasure, I can put
14 the population down there, and then I go over to the       14 them as a group A through S and then give an index of
15 Singleton Map 6 and we add three counties, and it          15 that to the court reporter. Tell me which way you
16 says it's basically the same. I guess my question          16 want me to proceed. Generally, these are exhibits
17 is, how could that be?                                     17 that support the concept of community of interest
18            COCHAIRMAN PRINGLE: Yes. Senator                18 based on the Gulf.
19 Singleton?                                                 19            And there are -- there are four sets
20            SENATOR SINGLETON: What you see is              20 of these exhibits available for review by committee
21 CLC, it bleeds over into Shelby just a little bit and      21 members in the reapportionment office in the big
22 takes up almost 30-some thousand odd people. That          22 redistricting theater. And I recommend that you go
23 30-some thousand odd people in the Singleton makes up      23 by and look at them and see what they are so that you
24 those other three counties. That's why you see the         24 can see what the evidence is of a community of
25 numbers are basically the same.                            25 interest there. So do you want me to identify these
                                                   Page 139                                                      Page 141
 1             REPRESENTATIVE ALMOND: So the CLC Map           1 one by one or just put them in as a group?
 2 1 --                                                        2            COCHAIRMAN PRINGLE: I think we can
 3             SENATOR SMITHERMAN: It bleeds into              3 take them as a group. Is that okay?
 4 Shelby just a little bit.                                   4            MR. WALKER: Okay. I'll give you an
 5             REPRESENTATIVE ALMOND: Okay. Just               5 index --
 6 behind that little faint line?                              6            I'll put them in one by one. Exhibit
 7             SENATOR SMITHERMAN: Makes up about              7 A is the Alabama Port Authority 2021 Economic Impact
 8 30 thousand people in Shelby.                               8 Statement, dated October 2022. Exhibit B is the
 9             REPRESENTATIVE ALMOND: So that makes            9 Alabama State Port Authority Annual Compressive
10 up for the other three entire counties?                    10 Financial Report For Fiscal Years Ended
11             SENATOR SMITHERMAN: Those three other          11 September 30th, 2022 and 2021. Exhibit C is a brief
12 counties. Perry, Hill, and Bibb, yep.                      12 history of USA, University of South Alabama. Exhibit
13             REPRESENTATIVE ALMOND: Okay. Thank             13 D is a statement from a publication called Lagniappe
14 you.                                                       14 about it's coverage area. Exhibit E is a
15             COCHAIRMAN PRINGLE: The Chair now              15 December 2022 article from Lagniappe, Mobile titled
16 recognizes Dorman Walker for closing statements --         16 "ALDOT says new bridge and Bayway are 'financially
17             Senator Bell has one quick question.           17 viable.'" Exhibit F is an article from Al.com,
18             SENATOR BELL: On your Singleton                18 entitled, "Redistricting Alabama: How South Alabama
19 Congressional Map 3 talking about Jefferson County         19 could be split up due to Baldwin County's growth."
20 whole, it could be just the ink on my paper. It            20 Exhibit G is a scheduled for what's called, BRATS,
21 looks like four comes in on the top part of Jefferson      21 the Baldwin Regional Area Transit System, which shows
22 County a little bit.                                       22 trip provided by BRATS to and from Mobile and Baldwin
23             SENATOR SMITHERMAN: Just a very, very          23 County.
24 little of it. Your ink is right.                           24            Exhibit H is an publication by BRATS,
25             COCHAIRMAN PRINGLE: A few thousand             25 called, "Baylinc Connects Mobile-Baldwin County

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 1 Public Transit Systems." Exhibit I is an Al.com              1            So I had three letters to read into
 2 articled called, Business: Making connections with           2 the records. One of those is from Mr. Ross, who
 3 public transit system. Exhibit J is the homepage             3 represented the lead attorney for the Milligan
 4 from the South Alabama Regional Planning Commission          4 Plaintiffs and because he was here, I gave him that
 5 website. Exhibit K is the identification of the              5 letter to put into the record, which he did. I have
 6 board of directors for the South Alabama Regional            6 a letter from Mr. Blacksher, the lead attorney for
 7 Planning Commission.                                         7 the Singleton Plaintiffs, and I have a letter from
 8           Exhibit L is a list of the                         8 the Attorney General, who I think can fairly be
 9 jurisdictions that belong to the Alabama Regional            9 described as the lead attorney for the defendants.
10 Planning Commission. Exhibit M is the 2022                  10 And I like to read those into the record, if I may.
11 Comprehensive Development Strategy adopted by the           11            I'll start with the letter from
12 South Alabama Regional Planning Commission. Exhibit         12 Mr. Blacksher. "Counsel suggest that we have no role
13 N is the testimony of former Representative Byrne           13 to play in proceedings to remedy the Voting Rights
14 that he gave at the preliminary injunction hearing in       14 Act violation affirmed by the Supreme Court, because
15 this case. Exhibit M is the deposition of Bradley           15 the District Court deferred ruling on the Singleton
16 Byrne --                                                    16 Plaintiffs' claim that the 2021 enacted Congressional
17           REPRESENTATIVE HALL: Sorry. You said              17 plan is an unconstitutional racial gerrymander. That
18 2022 that M was the economic development article and        18 is incorrect. As the Alabama Attorney General keeps
19 that N was the testimony from former Representative         19 reminding us, trial on the merits is still pending,
20 Byrne and --                                                20 and it may be necessary to decide the Singleton claim
21           MR. WALKER: You know what? I have                 21 in order to enter final judgment. Singleton remains
22 some mislabeled. So M is 2022 2022 Comprehensive            22 consolidated with Milligan and Caster, and paragraph
23 Development Strategy adopted by the South Alabama           23 5 of the District Court's order entered June 20,
24 Regional Planning Commission. And what we'll call           24 2023, says ‘any set of Plaintiffs’ may object to the
25 M.1 is the deposition of Congressman Bradley Byrne          25 remedial plan enacted by the Legislature.
                                                    Page 143                                                       Page 145
 1 given in the Chestnut case. And N is the testimony           1            The question before the Legislature is
 2 of Bradley Byrne at the preliminary injunction of            2 whether a remedial plan that splits Jefferson County
 3 this case.                                                   3 and Mobile County along racial lines complies with
 4            O is the deposition of former                     4 both the Voting Rights Act and the Constitution. The
 5 Representative Josiah Bonner in the Chestnut case.           5 District Court's opinion says: The Legislature
 6 Again, testifying about the Mobile Bay community of          6 retains ‘flexibility’ in their work, subject to the
 7 interest. And then I have three more, a few more             7 rule that a district drawn in order to satisfy
 8 exhibits. Exhibit P is a letter from Mr. Blacksher           8 Section 2 must not subordinate traditional
 9 that I've been asked to read into the record.                9 districting principles to race substantially more
10 Exhibit T is a memorandum --                                10 than is reasonably necessary to avoid Section 2
11            REPRESENTATIVE HALL: Are you saying P            11 liability.” Then it cites the Singleton v. Merrill
12 or a T?                                                     12 case.
13            MR. WALKER: T as in tango.                       13            Next paragraph, "At the hearing on
14            REPRESENTATIVE HALL: So you skipped              14 June 27 I told the Reapportionment Committee that the
15 Q, R, and S?                                                15 Singleton plaintiffs support plans that do not split
16            MR. WALKER: Yes, I did. They may                 16 Jefferson County, specifically, Singleton Plan Number
17 have been pulled. Exhibit T as tango is from Craig          17 3 and the Campaign Legal Center (CLC) Plan Number 1.
18 For, Etowah County Mayor's Association, Etowah County       18 They show that it is not necessary to draw districts
19 Commission Chairman to the members of the committee         19 along racial lines in order to provide two
20 about keeping their area together. Exhibit R, as in         20 ‘opportunity’ districts, i.e., districts in which
21 Romeo, is a letter from the Attorney General that           21 Black voters have a realistic opportunity to elect
22 I've been asked to read. Exhibit S, as in Sierra, is        22 candidates of their choice. Counsel for the Milligan
23 some talking points from the Mobile Chamber of              23 and Caster Plaintiffs contend that "the CLC Plan is
24 Commerce about the importance of the Mobile/Baldwin         24 not a viable remedy for the VRA violation because it
25 County community of interest.                               25 does not provide Black voters with a sufficient

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 1 opportunity to elect their preferred candidates."            1 Redistricting Committee and Legislature have a fuller
 2 That is incorrect. We have provided you and the              2 picture of the facts and law as the Legislature
 3 Milligan and Caster Plaintiffs spreadsheets showing          3 considers adopting a new congressional map.
 4 that, based on statewide elections going back to             4            First, Plaintiff Evan Milligan has
 5 2012, CLC Districts 6 and 7 consistently elect               5 repeatedly endorsed congressional plans for Alabama
 6 candidates favored by Black voters. Enclosed with            6 that contain a percentage of black voting age
 7 this letter is a summary of those results.                   7 population (BVAP) below 50 percent in every district.
 8            But legal issues aside, there are                 8 On September 16, 2021, he and his fellow plaintiff,
 9 reasons why the CLC plan, which is a modification of         9 Khadidah Stone, told the Legislature that it should
10 Singleton 3, is good for all Alabama citizens. The          10 adopt a plan introduced by Senator Bobby Singleton
11 two most important communities of interest in this          11 (the Singleton plan) in which the districts with the
12 state are the Black Belt and Jefferson County. CLC          12 two highest BVAPs had BVAPS of 40.5 percent and 45.8
13 Plan Number 1 places all of the majority-Black Black        13 percent, respectively."
14 Belt counties except Barbour County, in one district.       14            That statement and a number of other
15 And it keeps Jefferson County whole. Jefferson              15 statements in this letter are footnoted. I'm not
16 County has developed more biracial electoral                16 going to read the footnotes, which tend to be
17 coalitions than has any other Alabama county, and           17 technical. But, again, this letter is available for
18 this is a trend that should be celebrated and               18 your review and you have it in your packages.
19 encouraged. Moreover, CLC plan Number 1 preserves           19            Next, when the Milligan Plaintiffs
20 the Gulf Coast community of interest just as it is          20 were before the U.S. Supreme Court last year, they
21 drawn in the 2021 plan, as well as District 4 and 5         21 repeatedly endorsed the Singleton plan. In their
22 in north Alabama.                                           22 brief last summer, they were adamant that Alabama did
23            We urge the Legislature to adopt a               23 not need to create two majority-minority districts to
24 plan that keeps Jefferson County and the Black Belt         24 remedy the purported violation of Section 2. They
25 whole, if the plan can be supported by evidence that        25 stated that the "Singleton Plan" was ‘one option’
                                                    Page 147                                                       Page 149
 1 it performs to provide Black voters a realistic              1 that kept ‘Mobile and Baldwin together, and raised no
 2 opportunity to elect candidates of their choice.             2 racial predominance concerns.' At oral argument, the
 3 Regards, James U. Blacksher."                                3 Milligan Plaintiffs' counsel stated that their
 4           And Mr. Blacksher includes a chart                 4 expert's ‘race-blind' maps 'looked very similar to
 5 that reviews election results that have a zero               5 the Singleton plan, which allowed for two crossover
 6 deviation and CLC Plan would have performed elections        6 districts where minority voters would have a fair
 7 ranking to the 2022 Presidential election. I don't           7 chance to elect their candidates of choice in at
 8 see how I can meaningful read these to you, but I            8 least two districts.'
 9 will point out these are available. There are four           9            Later, he repeated the theme, saying
10 copies of this set of exhibits for you to review and        10 that Plaintiffs' maps were not one 'that anyone has
11 the reapportionment office. I think you also have a         11 to adopt. There are maps out there in the Campaign
12 copy of this letter in the package that was --              12 Legal Center amicus brief, in the Singleton plan that
13           COCHAIRMAN PRINGLE: They're in the                13 don't require maximization' of BVAP in two districts.
14 record already.                                             14 And to make sure the point wasn't missed he said
15           MR. WALKER: I'm sorry?                            15 again: 'We'd be satisfied with something like the
16           COCHAIRMAN PRINGLE: They're offered               16 Singleton plan, which Alabama's expert said would
17 in the record already.                                      17 give black voters at least a fair chance, not even a
18           MR. WALKER: Thank you.                            18 guaranteed chance to elect their candidates of choice
19           Next and last, I have the letter I                19 in the Second District. That's merely what
20 received this from the Attorney General. "Dear,             20 plaintiffs are looking for.'
21 Mr. Walker, I write to respond to the July 11, 2023         21            Now, that they have secured an
22 letter you received from the plaintiffs in Milligan         22 affirmance from the Supreme Court, Plaintiffs are
23 v. Allen and Caster v. Allen. Their letter includes         23 looking for much more. They pretend like they never
24 several questionable representations and others that        24 endorsed a plan in which the two highest BVAP
25 are flat wrong. I write to ensure that the                  25 districts were at 40.5 percent and 45.8 percent

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 1 respectively. They now demand a plan that provides          1 expressly rejected it. As Justice Thomas explained,
 2 not just a 'fair chance' to compete, but instead a          2 'the plurality entirely ignore[d]' evidence that the
 3 guarantee of Democratic victories in at least two           3 Milligan Plaintiffs' mapdrawer used race
 4 districts. And in service of those goals, they              4 predominantly 'presumably because her own explanation
 5 misrepresent the nature of the Campaign Legal Center        5 of her method sounds too much like textbook racial
 6 (CLC) plans they previously touted. Plaintiffs say          6 predominance. 'The plurality thus affirm[ed] the
 7 that 'the CLC Plan has not been proposed or endorsed        7 District Court's finding only in part and with regard
 8 as a remedy by' CLC, but the CLC amicus brief stated        8 to' Caster's mapdrawers' 'plans alone,' but his maps
 9 clearly that the plans presented in their brief             9 are materially 'indistinguishable from [the Milligan
10 represented some of Alabama's 'remedial options.'          10 maps], and it is those very design features that
11 Indeed, CLC labeled their maps in their brief as "CLC      11 would require race to predominate.'
12 Remedial Map 1" and "CLC Remedial Map 2” and further       12           Adopting a plan in which race
13 clarified that 'maps already in the record' including      13 predominates might satisfy the Caster and Milligan
14 'the Singleton Plan' were 'also available remedial         14 Plaintiffs' statutory claim, but it would likely open
15 options.'                                                  15 the State up to claims that it has violated the
16            Any assertion that CLC's maps were not          16 Constitution's Equal Protection Clause. As the
17 presented as remedial options is demonstrably false.       17 Supreme Court held just two weeks ago when it
18 Other statements from Plaintiffs earlier in the            18 declared Harvard's race-based admissions policy
19 litigation are also worth noting. The Milligan             19 unconstitutional, 'the core purpose of the Equal
20 Plaintiffs told the District Court that most plans         20 Protection Clause' is 'doing away with all
21 drawn for Alabama's congressional districts without        21 governmentally imposed discrimination based on race.'
22 basing lines on race would contain versions of             22           The Court was adamant: “Eliminating
23 Districts 2 and 7 with less than 40 percent BVAP, and      23 racial discrimination means eliminating all of it."
24 that any plan in which any district had 50 percent         24 It follows, the Court held, that 'race may never be
25 BVAP would be an 'outlier.' They further argued that       25 used as a 'negative' and that it may not operate as a
                                                   Page 151                                                       Page 153
 1 if one district had a BVAP of 50 percent, one would         1 stereotype.' But in Plaintiffs' Proposed Plans,
 2 expect the district with the second highest BVAP in         2 voters in Mobile County are divided from voters in
 3 that map to have around 34.5 percent BVAP, and              3 Mobile City because of their race and because of
 4 certainly nothing as high as 40 percent. Yet now            4 stereotypes about how voters of certain races will
 5 they demand that Alabama adopt a plan with two              5 vote. The 'outright racial balancing' demanded by
 6 'outlier' districts.                                        6 the Caster and Milligan Plaintiffs is 'patently
 7            Thus, as Jim Blacksher, counsel for              7 unconstitutional.' Neither judges nor Legislatures
 8 Senator Singleton, explained at the recent                  8 should be in the sordid business of pick[ing] winners
 9 Reapportionment Committee hearing, the Milligan and         9 and losers based on the color of their skin.'
10 Caster Plaintiffs' plans use race in a way that            10            Thank you for your consideration.
11 likely violates the Constitution. He's right.              11 Sincerely, Steve Marshall, Alabama Attorney General."
12 Plaintiffs' maps sacrifice neutral principles              12            And again, I didn't read the footnotes
13 including compactness and maintaining the                  13 in this. You have the full letter in your file and
14 long-recognized community of interest in the Gulf in       14 all of these exhibits are available for your review
15 favor of race.                                             15 in the reapportionment office. Thank you.
16            The Milligan and Caster Plaintiffs              16            COCHAIRMAN PRINGLE: Thank you,
17 respond that the Supreme Court rejected the argument       17 Mr. Walker.
18 that their plans are race-based. That's not true.          18            UNIDENTIFIED SPEAKER: Mr. Walker, you
19 Only four Justices, not a majority, found that on the      19 said that they're available in reapportionment
20 limited record before the District Court, the Caster       20 office?
21 Plaintiffs' mapdrawer did not cross the line from          21            MR. WALKER: Yes, sir. There are four
22 mere consciousness of race to predominantly using          22 packages just like this --
23 race. But five Justices did not endorse this view.         23            UNIDENTIFIED SPEAKER: We're supposed
24 Justice Kavanaugh declined to join that portion of         24 to read those four before Monday? They're available
25 Chief Justice Roberts's opinion and four justices          25 for you to look at --

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 1           UNIDENTIFIED SPEAKER: No, no. That's 1 the information they had, we can digest that.
 2 not the question I asked. Are we expected to read      2             For what we haven't seen yet, I know
 3 all of those before Monday?                            3 and most of us here know, we're not going to get that
 4           MR. WALKER: If you want to see what          4 before it comes time for us to act on it. That's not
 5 they say.                                              5 fair at all. It's not fair for me to ask me to act
 6           UNIDENTIFIED: Well, obviously                6 on something I know nothing about against something I
 7 somebody didn't want us to see what they say, if you   7 have all the data. That's just not fair. I'm not
 8 brought them in today.                                 8 directing this toward you, I was asking you a
 9           The other thing what is the -- what is       9 question, but I'm questioning this process as a
10 the purpose of the Attorney General's letter?         10 whole. That's all I needed.
11           MR. WALKER: I think it speaks for           11             COCHAIRMAN PRINGLE: Thank you. This
12 itself.                                               12 hearing is adjourned.
13           UNIDENTIFIED SPEAKER: It doesn't for        13             (Meeting was adjourned at 5:04 p.m. on
14 me. I mean, what's the purpose? I think we're         14                    July 13th, 2023.)
15 remanded to the District Court -- was this case       15
16 remanded to the District Court.                       16
17           MR. WALKER: It was.                         17
18           UNIDENTIFIED SPEAKER: Okay. And this 18
19 statement that's made in the letter that he wrote is  19
20 that he recant what happened in the Supreme Court?    20
21 We know what happened in the Supreme Court.           21
22           MR. WALKER: Okay.                           22
23           UNIDENTIFIED SPEAKER: My point is, I 23
24 don't understand how we are supposed to make an       24
25 intelligent decision with none of the information and 25
                                                  Page 155                                                     Page 157
 1 to come and bring it here at this, to think that we        1            REPORTER'S CERTIFICATE
 2 all could review it by then, it's not going to             2 STATE OF ALABAMA
 3 happen. I know that, and you know that. It's not           3 ETOWAH COUNTY
 4 going to happen. So I'm trying to determine whether        4      I, Anna Ruffin, Certified Court Reporter and
 5 we're really trying to make a determination on fact        5 Commissioner for the State of Alabama at Large,
                                                              6 hereby certify that on July 13, 2023, the above and
 6 or are trying to make a determination on data or we
                                                              7 foregoing proceeding was taken down by me in
 7 already made a determination. Those are the things
                                                              8 stenotype and the questions, answers, and statements
 8 I'm trying to determine, you know.                         9 thereto were transcribed by means of computer-aided
 9           We sent some up there before. It was            10 transcription and that the foregoing, page 1 to 157,
10 floored, so the Supreme Court say. I wasn't sitting       11 represents a true and correct transcript of the said
11 there. It was floored. And now instead of taking          12 proceeding.
12 the time to get the correct information for everybody     13           I further certify that I am neither of
13 on the committee, it seems to me that we are rushing      14 counsel, nor of kin to the parties to the action, nor
14 to the end before we should get there. And I'm very       15 am I in anywise interested in the result of said
15 concerned about that. I brought this up earlier that      16 cause.
16 the data that's needed -- I would like to see the         17
17 data as the rest of the plaintiffs, like the maps         18      <%25778,Signature%>
                                                                     Anna Ruffin, CCR
18 that were submitted and the data with that.
                                                             19      Commissioner for the
19           What other map is going to be drawn?
                                                                     State of Alabama at Large
20 We're not going to be able to see all that there. Do      20      CCR# 694, Expires 09/30/2023
21 we have an expert that's going to put that together?      21      MY COMMISSION EXPIRES: 10/21/24
22 Those are the things that concern me about this           22
23 process, Mister Cochairs. That's what concerns me.        23
24 And I think -- what will happen today is fair, it         24
25 should have been done that way, they brought us all       25

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